          Case 1:17-cv-01154-EGS Document 63 Filed 01/30/19 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



Senator RICHARD BLUMENTHAL,
Representative JERROLD NADLER, et al.,

                           Plaintiffs,

               v.                                         Civil Action No. 17-1154 (EGS)
DONALD J. TRUMP, in his official capacity as
President of the United States of America,

                           Defendant.



               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs respectfully notify the Court of a report issued by the Office of Inspector General

of the U.S. General Services Administration (GSA). This report discusses the implications under

the Foreign Emoluments Clause of President Trump’s ownership of the Trump International Hotel

in Washington, D.C. A copy of the report is attached as Exhibit A.

       The Inspector General examined the process by which GSA addressed whether the

President’s financial interest in the hotel might violate the hotel’s lease with GSA, which owns the

Old Post Office Building. Ex. A, at 1. Although GSA officials recognized “that the President’s

interest in the lease might violate the Foreign Emoluments Clause, and thus constitute a breach of

the lease,” the officials “decided not to address” the issue. Id. at 10.

       In concluding that GSA’s decision not to address the issue was improper, id. at 1, the

Inspector General examined whether the Foreign Emoluments Clause “might apply to the benefits

a government officer or employee receives from private business activities.” Id. at 10. To that

end, the Inspector General “reviewed Founding Era and other sources for the meaning and usage

of the term emolument.” Id. at 4. Examining dictionaries, legal treatises, early Supreme Court

                                                  1
           Case 1:17-cv-01154-EGS Document 63 Filed 01/30/19 Page 2 of 4



decisions, and statutes enacted by the First Congress, the Inspector General found that the term

emolument “had varied meanings at the time of the Constitution’s adoption and ratification,”

including “the income or other benefits a public officer receives from private business activities.”

Id. at 11. Therefore, the report concluded, “the President’s interest in the lease raises potential

constitutional issues.” Id. at 16; see, e.g., id. at 12-13 (citing evidence that “emolument” was used

at the Founding to refer to “[i]nterests in property” and the benefits derived from “private office”).

       The Inspector General’s findings and supporting evidence are inconsistent with the

President’s central claim in this case—that the Foreign Emoluments Clause only prohibits him

from accepting rewards for “service to a foreign power in his capacity as President or in a capacity

akin to an employee of the foreign power.” Def.’s Mot. to Dismiss Mem. at 18 (Dkt. No. 15-1).

Instead, as Plaintiffs have already shown, the Clause’s reach is far broader. Yet for more than two

years, the nation’s highest officeholder has been enriching himself with millions of dollars’ worth

of financial benefits from foreign governments, at least some of whom may be providing those

benefits to influence American foreign policy. See Am. Compl. ¶¶ 34-74 (Dkt. No. 14).1


       1
          Indeed, since the Amended Complaint was filed in August of 2017, new reports of
possible foreign emoluments accepted by the President have included the following, among others:
   •   In September 2017, the Malaysian Prime Minister and dozens of diplomatic staff stayed at
       President Trump’s Washington, D.C., hotel—with the Prime Minister reportedly traveling
       from the hotel in a motorcade straight to the White House for a meeting with the President.
       See Jonathan O’Connell, From Trump Hotel Lobby to White House, Malaysian Prime
       Minister Gets VIP Treatment, Wash. Post (Sept. 12, 2017).
   •   In June 2018, the Philippine Embassy held its independence day event at the President’s
       Washington, D.C., hotel, where the ambassador told a reporter: “Having it at a hotel that
       happens to have [Trump’s] name . . . . It’s a statement that we have a good relationship
       with this president.” David A. Fahrenthold & Jonathan O’Connell, At President Trump’s
       Hotel in New York, Revenue Went Up This Spring — Thanks to a Visit From Big-Spending
       Saudis, Wash. Post (Aug. 3, 2018).
   •   The nation of Qatar has purchased a $6.5 million condominium in Trump World Tower in
       Manhattan, for which it will annually pay thousands of dollars in fees to the Trump

                                                  2
         Case 1:17-cv-01154-EGS Document 63 Filed 01/30/19 Page 3 of 4



       The Inspector General’s findings provide additional reason, if any were needed, to

conclude that the convoluted interpretation of the Clause put forward in the President’s Motion to

Dismiss is baseless. That motion should be denied, so this case can move forward.

Dated: January 30, 2019                      Respectfully submitted,

                                             /s/ Brianne J. Gorod
                                             Brianne J. Gorod

                                             Elizabeth B. Wydra (DC Bar No. 483298)
                                             Brianne J. Gorod (DC Bar No. 982075)
                                             Brian R. Frazelle (DC Bar No. 1014116)
                                             CONSTITUTIONAL ACCOUNTABILITY CENTER
                                             1200 18th Street, N.W., Suite 501
                                             Washington, D.C. 20036
                                             (202) 296-6889
                                             elizabeth@theusconstitution.org
                                             brianne@theusconstitution.org

                                             Counsel for Plaintiffs



       Organization. See Jon Swaine & Julian Borger, Trump Set To Benefit as Qatar Buys $6.5m
       Apartment in New York Tower, Guardian (May 4, 2018).
   •   A Saudi Arabian delegation stayed at the Trump International Hotel in Manhattan in March
       2018, and this “five-day stay . . . was enough to boost the hotel’s revenue for the entire
       quarter.” Fahrenthold & O’Connell, At President Trump’s Hotel, supra.
   •   Additional financial payments to Trump properties in the United States have been made by
       the nations of India, Turkey, Romania, and Poland. See Dan Alexander, Trump’s Biggest
       Potential Conflict of Interest Is Hiding in Plain Sight, Forbes (Feb. 13, 2018); Alex
       Howard, Turkish Airlines Event at Trump Golf Course Tees Off Emolumental Problems,
       Sunlight Foundation (Sept. 24, 2017); David A. Fahrenthold, Romanian Consulate Event
       at Trump Hotel in Chicago Draws Scrutiny, Wash. Post (Dec. 12, 2018); Fahrenthold &
       O’Connell, At President Trump’s Hotel, supra.
   •   The Chinese government is providing a $500 million loan to a major development project
       in Indonesia featuring Trump-branded hotels, golf courses, and residences. See Ben
       Mathis-Lilley, Report: China Has Committed $500 Million to Indonesian Development
       That Will Include Trump Hotels and a Trump Golf Course, Slate (May 15, 2018).
   •   During the Trump presidency, foreign governments “have donated public land, approved
       permits and eased environmental regulations for Trump-branded developments.” Anita
       Kumar, Foreign Governments Are Finding Ways To Do Favors For Trump’s Business,
       McClatchy (Jan. 2, 2018) (discussing examples in Indonesia and Panama).

                                                3
         Case 1:17-cv-01154-EGS Document 63 Filed 01/30/19 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2019, the foregoing document was filed with the Clerk

of the Court, using the CM/ECF system, causing it to be served on all counsel of record.

Dated: January 30, 2019
                                            /s/ Brianne J. Gorod
                                            Brianne J. Gorod
Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 1 of 47
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 2 of 47
JE19-002


I.     Introduction
On July 28, 2017, the Office of Inspector General of the General Services Administration (GSA
OIG) opened this evaluation of GSA’s management and administration of GSA’s ground lease of
the Old Post Office Building (OPO). We initiated this evaluation based on numerous complaints
from Members of Congress and the public about GSA’s management of the lease. The
complaints generally raised two issues regarding the lease: (1) does the Foreign Emoluments
Clause or the Presidential Emoluments Clause of the U.S. Constitution bar President Donald J.
Trump’s business interest in the Trump Old Post Office LLC (Tenant) and (2) does the
President’s business interest in Tenant violate Section 37.19 of the lease.1
This report focuses on GSA’s decision-making process for determining whether the President’s
election caused Tenant to be in breach of the lease upon the President’s inauguration. We did
not seek to determine whether the President’s interest in the hotel violates either the
Emoluments Clauses or Section 37.19 of the lease, or whether any violation caused a breach of
the terms and conditions of the lease. Rather, we sought to determine whether there were any
improprieties in GSA’s decision-making process regarding these issues.
We found that GSA recognized that the President’s business interest in the OPO lease raised
issues under the Constitution’s Emoluments Clauses that might cause a breach of the lease;
however, GSA decided not to address those issues in connection with the management of the
lease. We also found that the decision to exclude the emoluments issues from GSA’s
consideration of the lease was improper because GSA, like all government agencies, has an
obligation to uphold and enforce the Constitution; and because the lease, itself, requires that
consideration. In addition, we found that GSA’s unwillingness to address the constitutional
issues affected its analysis of Section 37.19 of the lease that led to GSA’s conclusion that
Tenant’s business structure satisfied the terms and conditions of the lease. As a result, GSA
foreclosed an early resolution of these issues, including a possible solution satisfactory to all
parties; and the uncertainty over the lease remains unresolved.
A.     Background

Constructed between 1892 and 1899, the OPO was designed to house both the U.S. Post Office
Department Headquarters and the main Washington, D.C. post office branch. 2 The OPO was
slated for demolition in 1928 but a lack of funding during the Great Depression saved it;
thereafter, it served as the home for various federal agencies. 3 In 1964, the President’s Council
on Pennsylvania Avenue recommended demolition of the OPO in an effort to harmonize the
architecture in the Federal Triangle area of the city; however, local citizens united against
demolition and the plan was not executed.4 The OPO was listed in the National Register of
Historic Places in 1973. 5
In 1976, Congress passed the Public Buildings Cooperative Use Act, which provided GSA the
authority to renovate the OPO for mixed use, with the upper levels used to house government
offices and space on the upper and lower levels leased for restaurant and other retail use to
generate revenue. 6 The OPO redevelopment was not successful, however, because of low


JE19-002                                         1
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 3 of 47
JE19-002


occupant satisfaction and high retail turnover, including the bankruptcy of the original
developer. 7 In addition, GSA costs to support both federal and retail occupants exceeded
revenue and the property was underutilized.8 Consequently, GSA determined the best use of
the OPO would be to buy out the existing retail leases and redevelop the property with terms
and conditions beneficial to the government under the National Historic Preservation Act
(NHPA), Section 111. 9 The NHPA specifically allows federal agencies to lease (or outlease) an
historic property to a person or organization if the agency head determines that the lease will
adequately ensure the preservation of the historic property.10
Congress passed the Old Post Office Building Redevelopment Act of 2008 and directed GSA to
proceed with the OPO redevelopment. 11 GSA’s redevelopment goals included leveraging
private market expertise, putting the OPO to its highest and best use, providing a financially
lucrative return to the government, preserving the historic integrity of the asset, providing for
continued public access, and contributing to the vitality of Pennsylvania Avenue, the Federal
Triangle area, and the city. 12 Congress required congressional review before any proposed
redevelopment agreement became effective, and directed GSA to provide a report of the cost
benefit analysis of the proposed agreement and its material provisions.13
GSA assigned a small team of employees to oversee the OPO redevelopment issues. This team
included a contracting officer, Kevin Terry; an attorney, Timothy Tozer; and a project manager.
Brett Banks assumed the project manager duties from a predecessor early in the project.
GSA issued a request for proposals on March 24, 2011, for the OPO redevelopment and ground
lease. 14 The solicitation included an “As Is, Where Is” provision, and made GSA responsible for
compliance with the NHPA and the National Environmental Policy Act, as well as continued
public access to the OPO Clock Tower. 15
After reviewing and evaluating proposals, GSA selected the Trump Old Post Office LLC (Tenant)
as the preferred selected developer on February 7, 2012, to restore and redevelop the site into
a luxury 260-room hotel.16 Donald J. Trump (Trump) and Trump Old Post Office Member Corp.
(a Delaware corporation wholly owned by Trump) formed Tenant.17 GSA and Tenant then
entered into discussions to negotiate the terms and conditions of the lease. GSA identified 31
provisions of the lease that the agency considered “material” in its report to Congress as
required by the 2008 Act. 18 Section 37.19, which prohibits elected officials from being
“admitted to” certain interests in the lease, was not one of those provisions, and therefore, was
not reported to Congress. 19
After the Act’s congressional review period expired, the parties executed a 60-year ground
lease on August 5, 2013, which required Tenant to pay GSA a minimum of $3 million in rent
annually. 20 At this time, Trump had a majority interest in Tenant, in which several other
business entities also held a small interest each.
On May 31, 2014, GSA delivered exclusive possession of the premises to Tenant; and on August
12, 2014, GSA issued a notice to proceed, authorizing Tenant to begin construction. GSA
provided a temporary certificate of occupancy to Tenant on September 12, 2016 allowing


JE19-002                                         2
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 4 of 47
JE19-002


Tenant to conduct a soft opening of the hotel. The Trump International Hotel officially opened
on October 26, 2016, and it has been in continuous operation since that date.
On November 8, 2016, Donald J. Trump was elected President of the United States.
Long before the 2016 presidential election campaign, Trump’s successful bid to redevelop the
historic building into a luxury hotel garnered attention. 21 His involvement with the project
continued to attract press interest throughout the 2016 presidential election campaign;
occasional news articles raised concerns about potential conflicts of interest and the
Emoluments Clauses. 22 Public attention to his investment in the OPO intensified after the
election. GSA received Freedom of Information Act requests and requests for information from
Members of Congress raising concerns about the Foreign Emoluments Clause and foreign
governments’ use of the hotel, as well as whether the President’s interest in Tenant violated
Section 37.19 of the lease. 23
Shortly after the November 2016 election, lawyers in GSA’s Office of General Counsel (OGC)
began discussing the issues raised under the Constitution’s Emoluments Clauses and Section
37.19 of the lease. The relevant provisions are as follows:
       U.S. Constitution, Article I, Section 9, Clause 8 -The Foreign Emoluments Clause:
              [N]o Person holding any Office of Profit or Trust under [the United States], shall,
              without the Consent of the Congress, accept of any present, Emolument, Office,
              or Title, of any kind whatever, from any King, Prince, or foreign State.
       U.S. Constitution, Article II, Section 1, Clause 7 -The Presidential Emoluments Clause:
              The President shall, at stated Times, receive for his Services, a Compensation,
              which shall neither be encreased nor diminished during the Period for which he
              shall have been elected, and he shall not receive within that Period any other
              Emolument from the United States, or any of them.
       Ground Lease, Old Post Office Building, Section 37.19: Interested Parties:
              No member or delegate to Congress, or elected official of the Government of the
              United States or the Government of the District of Columbia, shall be admitted
              to any share or part of this Lease, or to any benefit that may arise therefrom;
              provided, however, that this provision shall not be construed as extending to any
              Person who may be a shareholder or other beneficial owner of any publicly held
              corporation or other entity, if this Lease is for the general benefit of such
              corporation or other entity.
As described in further detail below, in December 2016, the OGC lawyers decided not to
consider whether the President’s business interest in the OPO lease might result in his receipt
of emoluments under the Constitution’s Emoluments Clauses. In March 2017, after receiving



JE19-002                                        3
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 5 of 47
JE19-002


guidance from the OGC lawyers, the GSA contracting officer responsible for the OPO lease
decided that Tenant was in full compliance with Section 37.19 of the lease.
B.     Methodology
During the course of this evaluation, the OIG conducted over two dozen interviews of GSA
personnel involved in the administration of the OPO lease, including the GSA lease contracting
officer, Kevin Terry; the GSA lease project manager, Brett Banks; GSA Deputy General Counsel
Lennard Loewentritt; GSA Office of General Counsel attorneys Associate General Counsel for
Real Property Barry Segal and Deputy Associate General Counsel for Real Property Timothy
Tozer; former OGC Regional Counsel Paula DeMuth; and Public Building Service (PBS) Deputy
Commissioner Michael Gelber. We also sought to interview former GSA General Counsel Kris
Durmer, but he declined to be interviewed.
In addition, we reviewed over 10,000 GSA documents and emails concerning the OPO lease,
including the lease agreement and related files, documents, and emails concerning lease
negotiations and interpretations. We also reviewed Founding Era and other sources for the
meaning and usage of the term emolument, in order to understand whether a federal official’s
private business activities might raise constitutional issues. We conducted our evaluation in
accordance with the Council of the Inspectors General on Integrity and Efficiency Quality
Standards for Inspection and Evaluation (January 2012).
This report first presents an overview of the facts related to GSA’s decision-making process for
the emoluments issues and its consideration of Section 37.19 of the lease. The next part of the
report analyzes (1) how the Emoluments Clauses issues arise with the lease; (2) the reasons for
GSA’s decision to avoid the constitutional emoluments issues and why that was improper; and
(3) how the decision to overlook the constitutional issues influenced GSA’s understanding of
Section 37.19. The Conclusion includes our findings and recommendation.
II.    Facts
GSA’s legal work on the Emoluments Clauses and Interested Parties provision fell to a small
group of OGC supervisory attorneys: Tozer and former Regional Counsel Paula DeMuth, as well
as General Counsel Kris Durmer, Deputy Counsel Lennard Loewentritt, and Associate General
Counsel for Real Property Barry Segal. 24 Demuth and Tozer told us that they walled Contracting
Officer Terry off to avoid any political influence over him and preserve his independence.
A.     Emoluments
The selection in July 2016 of Tenant’s primary owner, Donald J. Trump, as a major political party
candidate for President raised the possibility for GSA that its lease of the OPO might generate
questions under the Foreign Emoluments Clause and the Presidential Emoluments Clause.
However, one attorney said OGC did not discuss this possibility until shortly before the
November election, when news articles appeared that questioned whether Trump’s election
would trigger Emoluments Clause and other conflicts of interest issues. According to one senior
attorney, the emoluments issues did not become a hot button issue until after the election.


JE19-002                                        4
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 6 of 47
JE19-002


One attorney specifically recalled that emoluments did not become an issue for OGC until an
article regarding the issue appeared in Government Executive on November 28, 2016.
The attorneys recalled participating in a few internal discussions about the emoluments issues
after the election. Most attorneys on the OPO project were aware that there was a Foreign
Emoluments Clause and a Presidential Emoluments Clause. 25 One attorney stated his view at
the time was that the purpose of the Presidential Emoluments Clause was to prevent a
President from receiving additional compensation beyond his salary for performing his job as an
elected official and that the clause did not apply to income from pre-existing business
arrangements. Another attorney thought that there were good arguments to be made on both
sides of the issues presented by the two Emoluments Clauses. In the end, they all agreed early
on that there was a possible violation of the Constitution’s Emoluments Clauses.
Nonetheless, the attorneys decided to ignore the emoluments issues. They told us that the
agency generally does not deal with constitutional issues (other than issues involving land
condemnation or GSA officials), and consequently, the Constitution’s emoluments issues were
not in GSA’s purview. In their view, OGC is only responsible for rendering an opinion on an
explicit provision of the OPO lease, such as Section 37.19. Emoluments raised larger issues
regarding the President’s business interests. One attorney told us that they decided not to “spin
their wheels” on something that was not before them and, if necessary, they could address the
issue another day.
When asked whether GSA addresses emoluments issues in other contexts, Loewentritt
acknowledged that issues under the Foreign Emoluments Clause occasionally arise in
connection with foreign gifts and travel paid by foreign governments for GSA employees, but
said that OGC does not get involved with supplemental income emoluments. He told us those
issues were for the Department of Justice’s Office of Legal Counsel (OLC) or the Office of
Government Ethics (OGE).
OGC made the decision not to address the emoluments issues by mid-December 2016. On
December 16, 2016, Tenant notified the contracting officer of plans to restructure the
President-elect’s financial interests in Tenant. The subsequent correspondence between GSA
and Tenant focused on the restructuring and Section 37.19 of the lease, until Terry issued his
Estoppel Certificate on March 23, 2017.
Segal told us that the decision to focus on Section 37.19 and not on the emoluments issues
came out of a discussion between himself, Durmer, and Loewentritt. He also told us all the OPO
attorneys agreed with ignoring the constitutional issue because it was bigger than GSA and the
lease. Former General Counsel Durmer declined the OIG’s request for an interview.
OGC decided to ignore the constitutional issues without preparing a formal decision
memorandum to document the rationale for the position they were taking. One attorney told
us that the decision-making process was just talking among the lawyers. Attorneys also told us
that they made this decision without conducting any research of the two Emoluments Clauses
or checking for any OLC opinions about the Emoluments Clauses. However, one attorney


JE19-002                                        5
        Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 7 of 47
JE19-002


acknowledged that, as a matter of personal interest, he read an OLC emoluments opinion
involving President Reagan mentioned in a press report.
OGC lawyers did not contact or request guidance from OLC before making this decision.26 One
senior attorney told us that OLC knew about the OPO lease “and it was up to them to do
something.” Another attorney stated that because OGC was not going to address the
constitutional issues, they did not need to confer with OLC. Similarly, Loewentritt stated that
OGC did not refer the emoluments issues to OLC because OGC would not opine on them,
although OLC could.
Both Segal and Tozer stated that they had little involvement with the Administrator’s office
about the position OGC took on the lease and no involvement from the Presidential Transition
Team. Segal said he had at least one meeting about the lease with Administrator Roth,
                                              . * Tozer told us that Administrator Roth agreed to
wait until GSA received information from Tenant to interpret the lease. As described further
below, Tenant provided information about its structural reorganization to GSA after Roth’s
tenure as Administrator ended with the inauguration of President Trump on January 20, 2017.
Several weeks after OGC decided to forego consideration of the constitutional issues, the first
lawsuit was filed raising Foreign Emoluments Clause and Presidential Emoluments Clause
challenges to the President’s interest in the lease. 27 One of the attorneys told us that, shortly
afterwards, on January 31, 2017, OGC attorneys told Tenant’s attorneys in a meeting that GSA
would not raise any issues concerning the Emoluments Clauses.
On March 3, 2017, OGC provided Terry with a legal memorandum from DeMuth and Tozer
instructing him

                      The memorandum acknowledged, however,


According to the memorandum,



Terry told us that he did not consider the Emoluments Clauses in his analysis because they were
not included within the “four corners of the lease.” Terry went on to say that he thought the
Foreign Emoluments Clause was relevant to the lease but that the Clause has broader
implications for the President and that it was most likely another government body that would
be responsible for making a decision. He also stated that it is not GSA’s role to focus on
constitutional law and that he believes the courts should determine whether there was a
constitutional violation. Terry nonetheless said that he tried to familiarize himself with the
emoluments issues by reading news articles.

*
 All of the redactions in this report contain information GSA asserts is protected from disclosure
pursuant to the attorney-client and deliberative process privileges.

JE19-002                                            6
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 8 of 47
JE19-002


B.     Section 37.19
The OPO team started working on the ground lease in 2009, but had little understanding of
Section 37.19 when the provision became part of the lease. Terry told us that the section was
used in other GSA outleases, such as the one for The Monaco Hotel, but doubted that the team
spent more than 15 minutes discussing Section 37.19 among themselves, before he signed the
OPO lease. Banks also told us he did not recall much discussion of the provision, and Tozer told
us he did not recall any discussion of, or having any familiarity with, the provision.
       1.      Origins of Section 37.19
We found that Section 37.19 is based on an 1808 Act of Congress that prohibited Members of
Congress from participating in contracts or agreements with the United States, and subjected
Members and government officers who made such contracts to criminal prosecution. 28 This
early Act also provided that every federal government contract or agreement must include a
prohibition that:
       … no member of Congress shall be admitted to any share or part of such contract or
       agreement, or to any benefit to arise thereupon.29
This wording remained in the public contract laws when, in 1983, the Pennsylvania Avenue
Development Corporation (PADC) executed a lease for the redevelopment of the historic
Willard Hotel. The provision in the Willard Hotel lease stated:
       No member or delegate to Congress, or elected official of the Government of the
       District of Columbia, shall be admitted to any share or part of this Lease, or to any
       benefit that may arise therefrom; but this provision shall not be construed to extend to
       this Lease if made with a corporation for its general benefit. 30
GSA later inherited oversight for the lease after PADC dissolved. 31
OGC attorney Jeffrey Domber used the Willard Hotel lease as a template for GSA’s 1999
outlease of the Tariff Commission Building/General Post Office, a National Historic Landmark,
for its redevelopment as The Monaco Hotel by Kimpton Hotels and Restaurant Group Inc.
Domber surmised that he added the language “or elected official of the Government” to the
admitted clause because he thought interested parties should include United States officials,
and not just be limited to elected officials of the D.C. government. He told us the clause was
intended to minimize a public official’s interference with the commercial operation of the
government landlord and included elected officials “period.” Domber told us he also added
language to Section 37.19’s proviso clause, about beneficial ownership interests in entities, at
the suggestion of the lessee’s attorneys. 32 Domber said that the clause never became an issue
in negotiations, he assumed because the Kimpton did not include anyone with political
ambitions. As a result, the revised clause used in the Monaco Hotel lease stated in full:
       No member or delegate to Congress, or elected official of the Government or the
       Government of the District of Columbia, shall be admitted to any share or part of
       this Lease, or to any benefit that may arise therefrom; provided, however, that

JE19-002                                         7
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 9 of 47
JE19-002


       this provision shall not be construed as extending to any Person who may be a
       shareholder or other beneficial owner of any publicly held corporation or other
       entity, if this Lease is for the general benefit of such corporation or other entity.
GSA made no changes to the Monaco Hotel lease Interested Parties provision when
pasting it into OPO lease Section 37.19. By the time GSA executed the OPO lease,
Congress had revised the 1808 language used in Section 37.19 “… to conform to the
understood policy, intent, and purpose of Congress in the original enactments ….” 33 The
revised language stated: “A Member of Congress may not enter into or benefit from a
contract or agreement or any part of a contract or agreement with the Federal
Government.” 34
GSA did not consider Section 37.19 a material term of the OPO lease, and it was not discussed
during lease negotiations. 35 There also was no discussion on the OGC OPO team about Section
37.19’s impact if Trump became President, in view of his earlier presidential bids. Terry,
however, told us that he was aware of Trump’s earlier interest in the presidency but it was not
a consideration during lease negotiations because at the time Terry thought a Trump
presidency unlikely.
       2.      GSA Review of 37.19
As with the emoluments issue, GSA personnel first began seriously discussing the meaning of
Section 37.19 shortly after the election. Following the publication of the first of several articles
about Section 37.19 on November 15, 2016, the OGC attorneys working on the OPO project
began discussing whether President Trump’s business interest in the OPO lease constituted a
breach of the section.36 Terry told us that he immediately formed an opinion, based on his
“plain reading” of Section 37.19, that there was no breach of Section 37.19; however, he waited
to formalize his opinion because he was willing to consider other points of view. According to
Terry, OGC attorneys Segal, Tozer, and DeMuth approached him before the inauguration


As noted earlier, Trump had a majority interest in Tenant, in which several other business
entities also held a small interest each. On December 16, Tenant sent Terry a letter indicating
that President-elect Trump “intends to assign all of his interests in Trump Old Post Office
Member Corp to DJT Holdings Managing Member LLC” and that Tenant anticipated that the
transfer would occur no earlier than January 1, 2017. On January 11, 2017, the President-elect
and Tenant’s counsel, Sheri Dillon, held a press conference announcing that the President-elect
would relinquish leadership and management of the Trump Organization and voluntarily
donate all profits from foreign government payments made to his hotel to the United States
Treasury. 37
President Trump was sworn into office on January 20, 2017. After the inauguration, Tenant’s
counsel notified Terry that the President had transferred his interest in the Old Post Office to a
revocable trust and relinquished his management over that interest, for the period of his
presidency; however, he still retained his financial interest in the property.


JE19-002                                         8
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 10 of 47
JE19-002


OGC lawyers, Terry, and Banks met with Tenant representatives Donald J. Trump, Jr., Eric
Trump, and counsel on January 31, 2017, to discuss Tenant’s new organizational structure. 38
Terry told us that during the January 31, 2017, meeting, he strongly encouraged the President’s
divesture from Tenant. Terry told us that he pushed hard for divestiture in discussions with
Tenant’s representatives to provide value to the government, not because he thought that the
lease was breached. Terry said he wanted to get the OPO out of controversy so he encouraged
divestiture to try and prevent any issues related to emoluments, even though emoluments
issues were not GSA’s responsibility to consider. However, Terry stated he did not have a solid
position to force a complete divestiture since there was not a breach of the lease. In addition to
the January 31, 2017 meeting, one or more OGC attorneys met separately with Tenant’s
counsel to review documents.
On February 10, 2017, Terry solicited Tenant’s position and analysis on whether Tenant was in
“full and complete compliance” with the Lease, specifically Section 37.19. 39 Counsel for Tenant
responded February 17, 2017, concluding that, among other points, (1) Section 37.19 does not
apply when an elected official is “admitted to” a lease before their election and (2) Tenant is an
“other entity” under Section 37.19’s exception for owners who have a beneficial interest in a
“publicly held corporation or other entity.” 40 After receiving Tenant’s response, Terry requested
a legal opinion from OGC.
OGC’s March 3, 2017 memorandum for Terry


                                                      The memorandum ultimately


On March 20, 2017 Tenant provided further analysis of its position and requested a certificate
stating that it was in full compliance with Section 37.19 of the lease and that the lease was valid
and in full force and effect. 41 The same day, Terry requested further guidance from OGC. OGC
responded


C.     Contracting Officer’s Decision
Terry communicated his decision to Tenant on March 23, 2017. Terry told us he looked at the
four corners of the lease and the plain meaning of its language. He considered Tenant’s letters
that explained its interpretation of the lease language. 42 Terry also considered the OGC
opinions. Terry concluded that Tenant satisfied his interpretation of the admitted clause. His
decision memorandum to Tenant stated that “most of the review and reporting on Section
37.19 has focused on only a few select words, and reached simplistic ‘black and white’
conclusions regarding the meaning and implications of the clause.” However, Terry noted, “it
has been less widely reported that other legal professionals and former government
contracting officials have reviewed the language and come to different conclusions,” and cited
one such press article.43


JE19-002                                         9
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 11 of 47
JE19-002


On March 23, 2017, Terry issued the Estoppel Certificate Tenant requested. His accompanying
letter stated his determination that Tenant was “in full compliance with Section 37.19 and,
accordingly, the Lease is valid and in full force and effect.” 44
Terry stated that no one inside or outside GSA pressured him to render any specific decision
about Section 37.19. He stated that he had no meetings with the Administrator, other GSA
leadership, or the Presidential Transition Team about Section 37.19. Terry also stated that he
could not remember speaking with anyone in GSA other than Tozer and DeMuth about the
lease, and that Acting Administrator Horne (who served in that position from January 20, 2017
to December 11, 2017) was not involved in the decision-making process.
At the time he issued the Estoppel Certificate, Terry knew that OGC recognized a violation of
the Foreign Emoluments Clause might be relevant to a breach and that this important issue
remained open. Nonetheless, he did not qualify his certification.
III.   Analysis
As noted earlier, the OGC lawyers responsible for providing guidance on the OPO lease
acknowledged that the President’s interest in the lease might violate the Foreign Emoluments
Clause, and thus constitute a breach of the lease. However, despite recognizing the
emoluments issue, they decided not to address it and went on to advise Terry on the Section
37.19 issue without benefit of analysis of the constitutional issue.
In this section of the report, we evaluate whether GSA should have addressed the issue raised
under the Emoluments Clauses as part of its administration of the lease. To do so, we first
consider whether, as GSA acknowledged, the Emoluments Clauses might apply to the benefits a
government officer or employee receives from private business activities. We then address
GSA’s reasons for ignoring the constitutional issue, and the effect this had on its analysis of
Section 37.19 of the lease.
A.     The Emoluments Issue
To evaluate whether the Emoluments Clauses might apply to the benefits a government officer
or employee receives from private business activities, we surveyed sources that show the
contemporaneous use and meaning of the term “emolument” during the Founding Era. We also
considered how the Supreme Court understood the meaning of the term, by reviewing the
Court’s opinions that might show general usages over long periods of time. Finally, we
considered publicized accounts of the first President’s private purchases and sales that may
show a historic practice of presidential business activities with the United States and foreign
states.
If “emoluments” include an official’s gains from private business activities, the President’s
interest in the lease raises at least potential constitutional issues. The Foreign Emoluments
Clause becomes relevant if the hotel receives payments from or on behalf of foreign
governments, or a foreign instrumentality, when its representatives stay or hold events at the
hotel or otherwise use its services. The Presidential Emoluments Clause becomes relevant if the


JE19-002                                       10
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 12 of 47
JE19-002


United States or a State of the United States similarly pays for the use of the hotel’s services, or
if Tenant receives other benefits from the government related to the hotel.
Although the term emolument may be archaic, it is a term that the United States government,
including GSA, currently uses in security clearance agreements. This is not an isolated use.
Nearly three million federal employees and contractor personnel (2,865,402 as of October
2015) have signed agreements that:
       assign to the United States Government all royalties, remunerations, and emoluments
       that have resulted, will result or may result from any disclosure, publication, or
       revelation of classified information not consistent with the terms of this Agreement. 45
The impetus for these assignments was a 1980 Supreme Court opinion that considered a
former Central Intelligence Agency officer’s publication of a book for his private gain about
agency intelligence activities. The Court imposed a constructive trust over the former officer’s
proceeds from his book to deny him any pecuniary benefit from violating his contract with the
agency for prepublication review. 46 The assignments on security clearance forms achieve the
same result, by removing the profit incentive from misusing classified information for personal
benefit.
These standard form agreements, available or referenced on GSA’s public and internal
websites, recognize that a government officer’s private business activities produce
emoluments. This much also is apparent from the current dictionary definition of “emolument”
as the “… profit or perquisites from office, employment, or labor: fees, salary,” as well as an
archaic use meaning advantage and benefit. 47
A word’s meaning in the 21st century, however, is not necessarily the same as the meaning in
the late 18th century when the new United States adopted the Constitution. As discussed
below, we found evidence that the term had varied meanings at the time of the Constitution’s
adoption and ratification; these meanings included the income or other benefits a public officer
receives from private business activities; and that usage continued after the Founding Era to
the present day, as the government’s security clearance agreements illustrate.
       1.      First Congress and Emoluments
The Supreme Court recognizes that the laws enacted by the First Congress provide
“contemporaneous and weighty evidence of the Constitution’s meaning” since many of the
Members of the First Congress had taken part in framing that instrument.48 We identified four
laws that the First Congress enacted that use the terms “emolument” or “emoluments.”
An Act to establish the Treasury Department created senior officers for the Department of
Treasury. The enactment did not permit these officers to “directly or indirectly … take or apply
to his own use, any emolument or gain for negotiating or transacting any business in the said
department, other than what shall be allowed by law.” Any official convicted of violating these
prohibitions committed a high misdemeanor and was fined, removed from office, and barred
from holding any office under the United States. 49


JE19-002                                         11
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 13 of 47
JE19-002


An Act for the Government of the Territory of the United States, south of the river Ohio
addressed the “powers, duties and emoluments” of a superintendent of Indian affairs.50
An Act to provide more effectually for the collection of the duties imposed by law on goods,
wares and merchandise imported into the United States, and on the tonnage of ships or vessels
addressed the “fees and emoluments” that collectors of customs, naval officers, and surveyors
received for performing their duties.51
Finally, An Act to incorporate the subscribers to the Bank of the United States created the Bank
of the United States as a government chartered but privately owned entity, and provided that
the Bank’s directors could not receive “any emolument” unless approved by stockholders at a
general meeting.52
In these enactments, “emolument” was the officers’ gain from conducting “any business” with
their agency (the senior Treasury officers); the officers’ compensation and benefits for
performing public duties (the superintendent of Indian affairs and the customs officers); and
the benefits a private person receives from private office or employment (in the case of the
Bank directors).
       2.      Contemporaneous Dictionaries
The First Congress’s differing uses of “emolument” corresponds to the definitions found in late
18th century dictionaries. The Supreme Court often looks to Samuel Johnson and Thomas
Sheridan’s dictionaries for the meaning of terms from the Founding Era. 53 Both define
“emolument” simply as profit or advantage throughout the pre-Revolutionary and Founding
eras. Other leading dictionaries of the time likewise defined “emolument” as advantage, profit,
gain, or benefit.54
Contemporaneous dictionaries also defined “emolument” as the gain or profit obtained
through one’s labor, investment, or cost. For example, Nathan Bailey’s dictionaries alternated
between defining emolument as “Advantage, Profit” and defining the term as “gain arising from
the grist of a corn-mill” and “profit gotten by labour and cost.” Another treatise that explained
the synonyms “Gain, Profit, Lucre, Emolument” stated: “Emolument relates to commissions and
employments; intimating not only the salaries, but all other perquisites.” 55
Although published after the Constitution, Noah Webster’s 1828 American Dictionary similarly
defined “emolument” as: “1. The profit arising from office or employment; that which is
received as a compensation for services, or which is annexed to the possession of office, as
salary, fees and perquisites. 2. Profit; advantage; gains in general.” Webster’s definition of
“office” was not limited to public office, but included: “Duty or employment of a private nature;
as the office of a midwife” and “Business; particular employment.” 56
       3.      Emoluments in English Law
Perhaps the most important contemporaneous resource for English lawyers during our colonial
period was Blackstone’s Commentaries on the Laws of England (1769) (Blackstone’s
Commentaries). 57 The framers of the Constitution were familiar with Blackstone’s

JE19-002                                       12
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 14 of 47
JE19-002


Commentaries, which was distributed extensively in the American colonies and “constituted
the preeminent authority on English law for the founding generation.” 58
Blackstone used the term “emolument” in varied contexts, rather than as a specialized legal
term of art. Among these uses, “emolument” included:
       •    Benefits that belonged to “public or private employment;”
       •    Interests in property;
       •    Income attached to a benefice, or ecclesiastical office; and
       •    Monetary benefits a bankrupt received for surrendering his property. 59
In Blackstone’s time, the term office not only meant public (and religious) offices, but also
private offices, such as business and private employment.60 For example, the public “bailiff”
made arrests. The private bailiff managed a farm or manor and collected rents.61 Both those
holding public office and those holding a private office, or employment, received “the fees and
emoluments thereunto belonging.” 62
English court decisions of the period also illustrate the types of emoluments or benefits that a
person acquired from private business endeavors. A person operating a ferry under a franchise
or license was entitled to the profit and emolument from their endeavors.63 A person who built
a bridge next to his mill did so for his own profit and “private emolument.” 64
       4.      The Founders’ Use of “Emolument”
The Founders’ records and other writings also show the varied contemporaneous general uses
of the term emolument. 65 In 1786, James Madison wrote to Thomas Jefferson on behalf of
himself and James Monroe proposing a plan through which Jefferson would use his private
credit to obtain money for the purpose of investing in the purchase of land in New York “on the
obligation of Monro[e] and myself, with your suretyship to be laid out by Monro[e] and myself
for our triple emolument ….” 66 Madison’s use reflects one of several common uses in the
period:
       •    In 1784, George Washington conveyed reports that his gristmill manager and
            business partner had not been attentive to Washington’s interests: “But I hope your
            [Accounts] will give the lie to these reports, by shewing that something more than
            your own emolument was intended by the partnership ….” 67
       •    In 1781, the Continental Congress passed a resolution that “’James Mease, late
            clothier-general, and William West, jun., his deputy or appointee: who, in
            conjunction with Major General Arnold, did, under colour of office, in the year 1778,
            take from sundry inhabitants of this city, great quantities of merchandise, not
            necessary for the army, which were converted to their private emolument’” and
            that “flagrant abuse of office and of the public confidence” merits “exemplary
            punishment.” 68
       •    A representative in the North Carolina ratification debates in 1788 expressed
            concern with federal judges receiving “emoluments” from state governments


JE19-002                                        13
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 15 of 47
JE19-002


            because: “It is impossible for any judges, receiving pay from a single state, to be
            impartial in cases where the local laws or interests of that state clash with the laws
            of the Union, or the general interests of America.” 69
       •    One of the first acts of the Continental Congress in its 1774 Address to the People of
            Great Britain exemplifies another usage: “Prior to this era you were content with
            drawing from us the wealth produced by our commerce. You restrained our trade in
            every way that could conduce to your emolument.” 70
       5.      The Supreme Court’s Use of “Emolument”
We also considered how the Supreme Court understood the meaning of the term emolument
by reviewing the Court’s opinions that might show general usages over a long period of time.
Although the Supreme Court has not interpreted any of the constitutional emoluments
provisions, the Court frequently considered numerous statutory emoluments provisions that
compensated federal officers, particularly the customs officers whose collections provided an
important source of revenue for the new government. Successive Congresses changed the
compensation formulae for these collectors, whose compensation typically included some
combination of salary, fees and commissions they could charge, and a share of the monies they
recovered for the United States in the form of penalties, fines, and forfeitures. 71
The Supreme Court’s opinion in one case, Hoyt v. United States, 51 U.S. (10 How.) 109 (1850), is
typical of the complexities that these changing compensation Acts presented. The government
sued a collector for the collections he owed the Treasury. The collector relied on a 1799 Act
that distinguished between “fees” and “emoluments.” He argued that an 1802 Act that capped
the emoluments a collector may retain did not apply to his fees, meaning that the collector
could retain all fees. Ultimately, the Court decided against Hoyt because an 1838 compensation
Act controlled the dispute rather than the 1799 and 1802 Acts Hoyt relied upon. 72
Hoyt is important because it shows the Court recognized that “emolument” was a catchall term
that included “every species of compensation or pecuniary profit derived from” the collector’s
discharge of the duties of the office. Fees, fines, and similar terms “…denote a compensation
for a particular kind of service…” that a public collector performed. 73 In a different case heard
by the Court, for example, the emoluments included an Army major’s emoluments: his personal
subsistence, forage for two horses, and the pay, ration, and clothing allowance for two
servants.74
The use of “emolument” as a catchall also appears in the Court’s opinions that employ the term
to describe the gain that arises from private business activities, such as:
       •    The livelihood an attorney earned upon admission to practice before a court; 75
       •    The benefits from using a ship for trade in commerce; 76
       •    The benefits a canal company received from a right to divert water for a dam and
            canal; 77
       •    The benefits a patent owner received from a patent; 78


JE19-002                                        14
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 16 of 47
JE19-002


       •    The benefits private companies received for providing public services such as
            transportation, lighting, and water; 79
       •    The benefits attached to corporate office; 80
       •    The benefits the riparian owner gained from using navigable waterways; and 81
       •    The benefits that attached to property interests. 82
This usage parallels the varied uses we found contemporaneous with the Constitution’s
adoption and ratification, as well as the government’s use of emolument in its agreements with
those government employees and contractors who receive access to classified national security
information.
       6.      Historical Practice
We also analyzed reports of Washington’s business activities for any evidence that he
conducted private business during his presidency with the United States or foreign
governments.83 The following summarizes what we found; additional information is available in
the attached Appendix A.
Purchase of Lots. During and after his presidency, Washington purchased lots of land in the
territory that Maryland ceded to the United States for the District of Columbia. His
correspondence and other records show that Washington purchased two lots from proprietor
(owner) Robert Peter and six additional lots during his presidency. If the United States owned
the latter six lots, Washington’s purchase might provide a historical precedent that private
business dealings did not offend the Presidential Emoluments Clause, which prohibits a
President’s receipt of any emolument from the United States or a State. However, we found
evidence in the historical records and other accounts that these six lots were owned privately.
Maryland’s cession of territory for the new District of Columbia did not give the United States
any right of property “in the soil” of those who owned the land in the ceded territory. At the
time Washington purchased the lots, trustees held ownership of the lots under agreements
with the proprietors of the land, who had transferred their property to the trustees (in part, so
that a share of the land could be sold to pay for the Capitol and President’s house and other
government buildings). The proprietors’ trust agreements and Maryland law provided that the
trustees retained ownership until title passed to the purchasers.
We also found evidence that the commissioners who conducted the sales of the lots acted
pursuant to authority held by the trustees, rather than under authority of the United States.
Although Congress authorized commissioners to survey the new district and otherwise prepare
for the government’s movement to the new district, the commissioners’ involvement in the
sales did not appear to give Washington a benefit from the United States. Congress did not
include sales among the commissioners’ authorities, much less the sales of land that was
owned privately. Maryland law did give the commissioners authority to sell land that the United
States did not own, but only through condemnation proceedings, and then only in very limited
circumstances. All this suggests that the commissioners’ authority to sell lots held by the



JE19-002                                        15
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 17 of 47
JE19-002


trustees appears to be derived from the proprietors’ trust agreements and Maryland law, not
from any authority conferred by the United States.
Sales of Flour. President Washington’s gristmill produced flour that was sold locally and
overseas. The Foreign Emoluments Clause prohibits the President (and others holding positions
of trust under the United States) from receiving emoluments “of any kind whatever” from
Kings, Princes, and foreign states (which include foreign government controlled
instrumentalities). The Clause does not prohibit receiving emoluments from domestic or foreign
merchants that ship to a port in a foreign country.
We found evidence that before the Revolution, Washington sold flour, as well as herring, corn,
and tobacco to merchants who sold overseas to London, Lisbon, and ports in the West Indies,
including other English colonies; and Washington himself shipped produce overseas.84 Our
review of Washington’s publicly available correspondence, however, found no evidence that he
sold flour or other produce during his presidency to a foreign government directly or to a
merchant whom Washington knew to represent a foreign government.
In sum, we found evidence that the term “emolument” as used historically and today includes
the gain from private business activities. As noted above, if emoluments include an official’s
gains from private business activities, the President’s interest in the lease raises potential
constitutional issues.
B.     GSA’s Reasons for Ignoring the Emoluments Issue
As described above, by mid-December 2016, OGC’s senior attorneys on the OPO project agreed
there was a possible violation of the Foreign Emoluments Clause but decided not to address the
issue. As one senior attorney told us, OGC decided to “punt.”
We conclude that decision was improper for several reasons: (1) as a federal agency, GSA is
subject to the Constitution, which also is incorporated into the OPO lease; (2) GSA already had
determined that the Foreign Emoluments Clause bars a federal employee from doing business
with a foreign government in his private capacity, a conclusion reinforced by instruction OGC
received from OGE; (3) OGC ignored OLC’s binding legal opinions on the Emoluments Clauses,
even though OGC OPO attorneys knew that OLC issued opinions involving both President
Reagan and President Obama; and (4) OGC failed to seek OLC’s guidance, even though the GSA
OPO attorneys knew that OLC issued opinions on the Foreign and Presidential Emoluments
Clauses.
       1.      GSA Ignored the Constitution
OGC lawyers told us they ignored the emoluments issues and that constitutional issues rarely
arise within GSA’s work. They also stated that the Foreign Emoluments Clause is not in GSA’s
purview, and not for GSA “to evaluate.” OGC lawyers also justified their inaction by stating that
Section 37.19 is a specific lease provision but the Foreign Emoluments Clause raised larger
issues.



JE19-002                                        16
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 18 of 47
JE19-002


The notion that GSA can disregard selected parts of the Constitution fundamentally ignores
Article VI of the Constitution. Clause 2 in Article VI establishes the whole Constitution as “the
supreme Law of the Land” and, therefore, it governs every agency. As an executive agency of
the United States, both GSA and its employees have an obligation to ensure that agency actions
comply with the law, whether the lease incorporates the Constitution or not. Using the
language some witnesses employed, the Constitution most certainly is in GSA’s purview.
Moreover, the lease, by its very terms, contemplates that laws will be considered even if they
are not specifically included in the text. For example, Section 6.2 of the lease prohibits Tenant’s
use of the premises “for any purpose or in any way” that violates the applicable laws (including
the Constitution). 85 This provision has little meaning if GSA cannot rely on those very laws
because they are not stated verbatim in the lease.
More to the point, Section 37.2 of the lease provides expressly that “federal laws of the United
States” govern (except in limited instances where District of Columbia laws apply). 86 The
Constitution certainly is the law of the United States and, consequently, applies to the lease,
even if those terms are not mentioned expressly in the lease. The contracting officer’s and
other witnesses’ assertions that the Constitution’s emoluments provisions fall outside the four
corners of the lease renders the above provisions meaningless, by drawing an artificial
distinction that simply cannot be reconciled with the very provisions of the lease that
incorporate the laws of the United States. Like any other federal agency, it is not only
appropriate that GSA address potential violations of the Constitution that arise with its
activities, GSA cannot ignore them. GSA did not fulfill that obligation. Therefore, the contracting
officer may have approved an interest in the lease that the Constitution forbids.
Finally, OGC’s March 3, 2017 memorandum for Terry
                                                                     However, OGC attorneys
also told us that the decision not to consider the Constitution’s provisions was made by mid-
December 2016, several weeks before the first lawsuit was filed that raised emoluments
challenges to the lease. 87 It is noteworthy, moreover, that GSA’s reluctance to consider the
emoluments issues did not inhibit the contracting officer from granting an Estoppel Certificate
that determined, before the judges rendered any decisions, that Tenant was in compliance with
the terms and conditions of the lease, terms that included compliance with the Constitution.
       2.      OGC Ignored Nonbinding Precedents and Instruction
The agency also disregarded existing precedent and instruction that provided important
guidance for understanding the contours of the constitutional provisions GSA confronted.
Significantly, we found that OGC had already addressed the threshold question that the lease
presents: Does the Foreign Emoluments Clause restrict the income or other benefits that an
officer or employee receives from their private business activities with foreign states?
At least as early as 2013, OGC recognized that a Foreign Emoluments Clause issue could arise
when a GSA employee sought a waiver to participate in an outside real estate company in the
Washington D.C. area.88 When the issue arose, the employee’s supervisor, with the assistance


JE19-002                                        17
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 19 of 47
JE19-002


of an OGC ethics advisor assigned to the matter, who worked under Segal (a designated Ethics
Official), issued a decision memorandum that partially granted the waiver and cautioned the
employee:
       [B]e aware that because you are requesting to conduct business in the Washington D.C.
       area, you are beholden to the Emoluments Clause which states:
              “No Title of Nobility shall be granted by the United States: And no Person holding
              any Office of Profit or trust under them, shall, without the Consent of the
              Congress, accept of any present, Emolument, Office, or Title, of any kind
              whatever, from any King, Prince, or foreign State.” U.S. Constitution Article I,
              Section 9, Clause 8 (art. I, § 9, cl. 8)
       Therefore, you are prohibited from doing any business with another Country (for
       example any transaction regarding an Embassy or Residence.)
Tozer (one of the Standards of Conduct Counselors) knew about this memorandum and asked
for a copy when a similar waiver issue arose.
The emoluments guidance OGC provided in 2013 comports with the instruction that OGC
received from OGE. Shortly before the election, on September 23, 2016, OGE issued a Legal
Advisory to all Executive agency ethics officials on post-employment restrictions. The
instruction included restrictions on employment or compensation from a foreign government
for certain civilian retirees who remain subject to the same restrictions that the Foreign
Emoluments Clause imposes on current employees. 89
       3.     OGC Ignored Binding Department of Justice OLC Precedents
OGC also disregarded the opinions of the Department of Justice’s OLC on the Foreign
Emoluments Clause and the Presidential Emoluments Clause. OGC understood that OLC
provides guidance on constitutional issues. Deputy General Counsel Loewentritt, OGC’s senior
career attorney, acknowledged that questions about constitutional issues under the
Emoluments Clause are something for OLC to address. One of the OGC attorneys also
acknowledged reading the OLC opinion involving President Reagan, which addressed the
purpose of the Foreign Emoluments and the Presidential Emoluments Clauses and conducted a
dictionary analysis of the term emolument.90 That attorney also knew about an OLC opinion
which addressed the application of the Foreign Emoluments Clause to President Obama’s
receipt of the Nobel Peace Prize. 91
OGC could have obtained an understanding of the emoluments issues simply by reviewing
OLC’s published opinions. OLC’s “core function” is to “provide controlling advice to Executive
Branch officials on questions of law that are centrally important to the functioning of the
Federal Government.” 92 We found that OGC attorneys understood that “OLC opinions are
controlling on questions of law within the Executive Branch.” 93
Importantly, as noted above, OLC’s legal opinions on the Foreign Emoluments Clause and the
Presidential Emoluments Clause include one opinion involving President Barack Obama and

JE19-002                                       18
      Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 20 of 47
JE19-002


another involving President Ronald Reagan. Those and other OLC emoluments opinions provide
the following guidance:
       1. The Foreign Emoluments Clause encompasses “every kind of influence by foreign
          governments upon officers of the United States …” in view of its “expansive language
          and underlying purpose.” 94
       2. The Foreign Emoluments Clause applies to a federal employee’s stipend or
          consulting fees from a foreign governmental entity in the employee’s private
          business capacity.95
       3. The President holds an “Office of Profit or Trust,” as used in the Foreign Emoluments
          Clause, which reaches not only foreign states but also their instrumentalities,
          determined by an inquiry into whether the decision to confer a particular gift is
          subject to the foreign government’s control or influence.96
       4. The Foreign Emoluments Clause prohibits a federal employee’s private business
          arrangement with a U.S. company, where a foreign government selected the
          company in order to acquire the federal employee’s expertise, and the foreign
          government was the actual source of the company’s payments to employee. 97
       5. The Foreign Emoluments Clause does not permit a part time federal officer to
          receive income from a private business partnership that includes earnings from a
          foreign government client, even though the officer had no involvement with that
          client.98
       6. The Foreign Emoluments Clause prohibits a federal employee, who holds an office of
          profit or trust under the United States, from receiving compensation of any sort
          arising out of an employment relationship with a foreign state.99
       7. The Presidential Emoluments Clause “was designed to protect ‘the independence
          intended for him [the President] by the Constitution,’ so that neither Congress nor
          the states could ‘weaken his fortitude by operating on his necessities, nor corrupt
          his integrity by appealing to his avarice. Neither the Union, nor any of its members,
          will be at liberty to give, nor will he be at liberty to receive, any other emolument
          than that which may have been determined by the first act.’” An inquiry into
          whether the Presidential Emoluments Clause permits a particular benefit involves an
          inquiry into the purpose of the Clause and the dictionary meaning of the term
          emolument.100
       4.     OGC Failed to Seek Guidance from OLC
Finally, OGC also could have sought guidance from OLC directly, but did not. We found that
OGC is familiar with seeking guidance from OLC, and had requested advice from OLC during the
period covered by this report. We found that, after eight Members of Congress sought
information about the OPO, OGC knew to request OLC guidance in February 2017.


JE19-002                                      19
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 21 of 47
JE19-002


As shown above, OLC has issued numerous emoluments opinions, including issues relating to
former Presidents Reagan and Obama. The meaning and application of the Foreign Emoluments
Clause and the Presidential Emoluments Clause are precisely the types of issues that OLC has
shown it is willing to consider, particularly when there is a “practical need” for guidance.101 One
of the OGC OPO lawyers recognized the significance of these opinions, citing the Reagan
opinion for the purpose test and citing the Obama opinion as an example of a controlling
opinion on the Foreign Emoluments Clause.
OGC confronted a similar problem 20 years ago when OGC sought guidance on a complex
business structure between six entities, in which two Members of Congress held beneficial
interests through blind or excepted trusts, and a real estate investment trust that held
government leases. The proposal raised a question whether the interests of the Members
under the proposed transaction violated the criminal statutes, based on the 1808 Act that
prohibited Members from entering in or holding federal government contracts. OGC sought
guidance from OLC because of the statutory bar to Members of Congress contracting with the
government. Within two months, OLC issued two opinions that rejected several alternatives
suggested by the entities at issue, but also identified for GSA’s General Counsel one alternate
arrangement suggested by the entities that satisfied the law. 102 OGC charted a different course
here.
The President’s nomination in July 2016 alerted GSA that the agency might face novel issues
with the OPO lease. OGC had ample time to review OLC’s emoluments opinions to understand
what the Constitution requires under OLC’s existing precedents and work with OLC to address
any emoluments issues in the event of his election. We recognize that under its OLC Best
Practices, OLC addresses constitutional issues in the context of specific facts and circumstances,
which changed in January 2017 as Tenant’s business structure changed.103 However, much as
OGC and the Members of Congress discovered in 1998, OLC might have worked with OGC in
order to determine whether Tenant’s current business structure or some other structure in
OLC’s view would satisfy the Constitution’s restrictions, and those of Section 37.19.
Instead, GSA chose to leave any Foreign Emoluments Clause and Presidential Emoluments
Clause issues unresolved without seeking the type of OLC assistance that OGC sought in 1998
when Members of Congress requested guidance. We conclude that GSA’s decision to ignore the
Emoluments Clauses was improper.
C.     Emoluments and Section 37.19
We found that when OGC attorneys considered how Section 37.19 should be interpreted, they
employed the standard tools attorneys use for interpreting language in contracts, statutes, and
other legal documents: the rules that the Supreme Court and lower courts have developed
through their decisions in cases.
We found that OGC did not, however, analyze the Constitution’s Foreign and Presidential
Emoluments Clauses as they affected Section 37.19. As a consequence, OGC left the decision to



JE19-002                                        20
        Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 22 of 47
JE19-002


the contracting officer, who granted Tenant’s request for an Estoppel Certificate that leaves a
constitutional cloud over the lease.
        1.     Section 37.19
OGC determined
They made this determination



a. Primary Clause: The first issue that arises is whether Section 37.19 bars an official from
receiving a benefit under the lease if the official entered into the lease as a private person,
before becoming a public official. The primary clause states:
        No member or delegate to Congress, or elected official of the Government of the United
        States or the Government of the District of Columbia, shall be admitted to any share or
        part of this Lease, or to any benefit that may arise therefrom …. (Emphasis added)
This issue largely turns on what the term “admitted to” means.
Tenant urged “admit” means to allow entry under current dictionary definitions. Consequently,
the argument goes, President Trump was “admitted” to the lease before he became an elected
official, and therefore, the prohibition does not apply to his business interest in the lease.104
However, OGC recognized

                                             Moreover, OGC’s March 3, 2017 memorandum to
Terry


               In revising the law in 2011, Congress removed the word “admitted” for the
expressed purpose “… to conform to the understood policy, intent, and purpose of Congress in
the original enactments, with such amendments and corrections as will remove ambiguities,
contradictions, and other imperfections ….” 105
b. Proviso: The second issue arises with the proviso that creates an exception to the prohibition
in the primary clause when an official fits the prohibition. The proviso states:
        … provided, however, that this provision shall not be construed as extending to any
        Person who may be a shareholder or other beneficial owner of any publicly held
        corporation or other entity, if this Lease is for the general benefit of such corporation or
        other entity. (Emphasis added)
Here, the issue primarily turns on whether “publicly held” modifies both “corporation” and
“other entity.”
Tenant applied the grammar rule to support its interpretation that “publicly held” does not
modify “other entity,” because “other” is an intervening modifier. Consequently, as a limited

JE19-002                                         21
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 23 of 47
JE19-002


liability company, Tenant is an “other entity,” and Tenant falls squarely within the exception to
the prohibition in the primary clause.
However, OGC recognized
                                                                   OGC also recognized
                                                                This view is the same that the
Supreme Court took in Duncan v. Walker, 533 U.S. 167 (2001), where the Court interpreted
statutory language, “State post-conviction or other collateral review,” that closely parallels the
phrasing found in Section 37.19, “publicly held corporation or other entity.” The Court rejected
an interpretation that would render the word “‘State’” “insignificant, if not wholly superfluous”
in the context of the particular statute under consideration.106 Similarly, OGC understood

                                                         107   One attorney told us GSA needs to
change the clause moving forward


       2.      Constitutional Avoidance
Both OGC and Tenant relied on common rules of construction for their interpretations that
courts employ for interpreting language in federal contracts and statutes, like the grammar rule
and the rule that all words should be given meaning. As noted above, OGC recognized
                                                                                           In
these circumstances, a third rule of construction becomes relevant: the rule of constitutional
avoidance.
Under the rule of constitutional avoidance, “where an otherwise acceptable construction …
would raise serious constitutional problems …,” language should be interpreted to avoid the
constitutional issues “unless such construction is plainly contrary to the intent of Congress.” 108
This prudential rule has special relevance to a contract or lease where constitutional restraints
may limit the agency’s own statutory authority, and by extension that of its contracting
officer.109
We found that at least some of the OGC OPO attorneys knew about the constitutional
avoidance rule from researching OLC opinions starting in December 2016 for an understanding
of the Seven Member Rule. 110 For example, we found one attorney knew of an OLC opinion that
stated “the familiar rule that courts will adopt an interpretation of a statute that will avoid
constitutional questions.” However, we found that OGC did not consider in connection with the
OPO lease whether GSA has an obligation to interpret its lease provisions to avoid
constitutional questions.
OGC should have recognized from OLC’s authoritative Executive Branch precedents, as well as
OGC’s own experience and instruction on emoluments, that the OPO lease presented serious
constitutional questions. In this circumstance, the constitutional avoidance rule requires an
inquiry to determine whether there are other plausible interpretations of Section 37.19 that do
not present constitutional problems.111 Such an inquiry might have led, as we discussed earlier,


JE19-002                                         22
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 24 of 47
JE19-002


to discussions with OLC regarding a solution. Much like the discussions that yielded the solution
OLC found for OGC in 1998, when Members of Congress sought to participate in a business
structure that included government leases, those discussions might have led OLC to identifying
options for GSA and Tenant that did not raise potential constitutional issues.
However, OGC refused to consider any constitutional implications and failed to conduct this
inquiry. At the same time, OGC acknowledged in interviews with the OIG that if a constitutional
violation is later found, the attorneys would look at Section 37.19 again. The difficulty, of
course, is that GSA accepted Tenant’s interpretation of Section 37.19, and the contracting
officer has issued his Estoppel Certificate. As a consequence, the constitutional issues are
preserved rather than avoided. We found that GSA should have considered the potential
impact of the Constitution on how Section 37.19 should be interpreted under the avoidance
doctrine before issuing the Estoppel Certificate.
Moreover, the impact of GSA’s failure to do so extends beyond the OPO lease. Terry’s decision
to grant an Estoppel Certificate also affects the Tariff Building lease, and any other leases that
use similar provisions. At present, the Section 37.19 language has been included in at least one
outlease executed subsequent to the OPO lease. In May 2016, GSA and Miami-Dade College
finalized negotiations on a lease to renovate and use the historic David W. Dyer Building in
downtown Miami. Other than relevant geographical substitutions, Section 37.19 has been
copied and inserted in the lease wholesale for the Dyer Building.
IV.    Conclusion and Recommendation
GSA administers and manages the ground lease for the Old Post Office Building that the
Trump Old Post Office LLC (Tenant) redeveloped into a hotel. Following the 2016 election, it
was necessary for GSA to consider whether President-elect Trump’s business interests in
Tenant might cause a breach of the lease under Section 37.19, Interested Parties provision,
upon his becoming President.
GSA’s analysis should have considered whether the Foreign Emoluments Clause or the
Presidential Emoluments Clause of the U.S. Constitution barred the President’s business
interest in Tenant. We found that GSA, through its OGC and PBS, recognized that the
President’s business interest in the OPO lease raised issues under the Constitution’s
Emoluments Clauses that might cause a breach of the lease, but decided not to address those
issues in connection with the management of the lease. We also found that OGC improperly
ignored these Emoluments Clauses, even though the lease itself requires compliance with the
laws of the United States, including the Constitution. In addition, we found that GSA’s
unwillingness to address the constitutional issues affected its analysis of Section 37.19 and
the decision to grant Tenant an Estoppel Certificate.
GSA’s decision-making process related to Tenant’s possible breach of the lease included
serious shortcomings. GSA had an obligation to uphold and enforce the Constitution.
However, GSA opted not to seek any guidance from OLC and did not address the
constitutional issues related to the management of the lease. As a result, GSA foreclosed an


JE19-002                                        23
      Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 25 of 47
JE19-002


opportunity for an early resolution to these issues, including a possible solution satisfactory to
all parties; and the constitutional issues surrounding the President’s business interests in the
lease remain unresolved.
In interviews with the OIG, OGC has acknowledged that if a constitutional violation were later
found, they would have to revisit the issue of potential breach of the OPO lease’s Interested
Parties provision; however, the fact remains that GSA continues to use the language of the
provision in other leases. We recommend that before continuing to use the language, GSA
determine the purpose of the Interested Parties provision, conduct a formal legal review by
OGC that includes consideration of the Foreign and Presidential Emoluments Clauses, and
revise the language to avoid ambiguity.
In its response to our draft report, GSA agreed with our recommendation. The agency’s
response is contained in Appendix B.




JE19-002                                        24
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 26 of 47
JE19-002



Endnotes:
1
 The Foreign Emoluments Clause is found at U.S. Const. art. I, § 9, cl. 8. The Presidential Emoluments Clause is at
U.S. Const. art. II, § 1, cl. 7.

2
 U.S. Gen. Servs. Admin., Rep. of Material Provisions of the Old Post Office Dev. Agreement Submitted Pursuant to
Old Post Office Building Redevelopment Act of 2008, Public Law 110-359 at 3 (2013) (GSA Rep. of Material
Provisions).

3
    Id.

4
    Id.

5
    Id.

6
 Public Buildings Cooperative Use Act of 1976, Pub. L. No. 94-541, 90 Stat. 2505 (1976); GSA Rep. of Material
Provisions at 3.

7
 H.R. REP. NO. 110-724, at 3 (2008), available at https://www.congress.gov/congressional-report/110th-
congress/house-report/724/1.

8
 S. REP. No. 110-501, at 2 (2008), available at https://www.congress.gov/congressional-report/110th-
congress/senate-report/501/1.

9
 See GSA Rep. of Material Provisions at 4 (GSA’s redevelopment goals include “putting the OPO to its highest and
best use”); see also S. REP. No. 110-501, at 2; H.R. REP. No. 110-724, at 3-4. NHPA, Section 111 is codified at 54
U.S.C. § 306121.

10
  Outlease also is a term GSA uses when the agency rents available space to private business as well as state and
local governments. These properties can include retail shops, food service facilities, office space, warehouse space,
or parking lots. See https://www.gsa.gov/real-estate/gsa-properties/outleasing.

11
     Pub. L. No. 110-359, 122 Stat. 4005 (2008).

12
     See GSA Rep. of Material Provisions at 4.

13
     Old Post Office Building Redevelopment Act of 2008, Pub. L. No. 110-359, § 5, 122 Stat. at 4006-07.

14
  U.S. Gen. Servs. Admin., Request for Proposals, Redevelopment of Old Post Office: Washington, D.C. (Mar. 24,
2011); see also U.S. Gen. Servs. Admin., Old Post Office Redevelopment: Executive Factsheet 1 (2015); GSA Rep. of
Material Provisions at 4 (2013).

15
     Request for Proposals at 6.

16
  U.S. Gen. Servs. Admin., Old Post Office Redevelopment: Executive Factsheet 2 (2015); GSA Rep. of Material
Provisions at 5 (2013).

17
     OPO Lease at 1.

18
     The Act did not specify criteria for determining materiality.


JE19-002                                                     25
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 27 of 47
JE19-002



19
     GSA Rep. of Material Provisions at 6-10 (2013).

20
  Ground Lease by & between the U.S. (as “Landlord”) & Trump Old Post Office LLC (as “Tenant”), Lease No: GS-LS-
11-1307 (Aug. 5, 2013) (available online at https://www.gsa.gov/reference/freedom-of-information-act-
foia/electronic-reading-room); see also U.S. Gen. Servs. Admin., Old Post Office Redevelopment: Executive
Factsheet 2 (2015); Letter from Kevin Terry, Contracting Officer, U.S. Gen. Servs. Admin., to Trump Old Post Office
LLC 2 (March 23, 2017) (available online at https://www.gsa.gov/reference/freedom-of-information-act-
foia/electronic-reading-room).

21
  See, e.g., Carol Ross Joynt and Shane Harris, UPDATED: Controversy Follows Donald Trump’s Winning Old Post
Office Pavilion Bid, WASHINGTONIAN (June 19, 2012), available at https://www.washingtonian.com/2012/06/19/its-
not-all-smooth-sailing-for-trumps-post-office-renovation/; Steve Kelman, The Lectern: 2 ½ cheers for GSA, Donald
Trump and the Old Post Office, FEDERAL COMPUTER WEEKLY (June 6, 2014), available at
https://fcw.com/blogs/lectern/2014/06/trump-develops-old-post-office.aspx.

22
  See, e.g., Rick Bockman, Handing over Trump Inc., THE REAL DEAL, NEW YORK REAL ESTATE NEWS (April 1, 2016)
(Foreign Emoluments Clause and potential conflicts of interest), available at
https://therealdeal.com/issues articles/handing-over-trump-inc/; Aram Roston and Daniel Wagner, Donald Trump
Won Control Of A Prized D.C. Landmark – Here’s How, BUZZFEED (April 28, 2016) (potential conflict of interest),
available at https://www.buzzfeed.com/aramroston/how-donald-trump-won-control-of-a-prized-dc-
landmark?utm term=.ewOX5EGZl6#.skLqNYPvgW; Russ Choma, Donald Trump Has a Huge Conflict of Interest That
No One’s Talking About, MOTHER JONES (Aug. 15, 2016) (conflict of interest), available at
https://www.motherjones.com/politics/2016/08/trump-conflict-of-interest-old-post-office-hotel/.

23
  See Letter of Rep. Cummings, DeFazio, Connolly, and Carson to GSA Administrator Roth (Nov. 30, 2016) (section
37.19); Letter of Sen. Warren and Carper to GSA Administrator Roth (Dec. 1, 2016) (Section 37.10, Presidential
Emoluments Clause, Emoluments Clause); The Madison Project FOIA request (Jan. 10, 2017).

24
  General Counsel Durmer served in this position from September 2009 until the Presidential Inauguration on
January 20, 2017. Deputy Counsel Loewentritt was Acting General Counsel from January 20, 2017 until May 12,
2017.

25
  This report uses Foreign Emoluments Clause and Presidential Emoluments Clause where the context of a
document or interview suggests the reference is to one or the other. Emoluments Clauses refers to both.

26
  Four attorneys in OGC told us that they did not contact or request guidance from OLC. General Counsel Kris
Durmer declined to be interviewed.

27
  See Citizens for Responsibility and Ethics in Washington v. Trump, No. 1:17-cv-00458 (S.D.N.Y. filed Jan. 23,
2017).

28
  See An Act concerning public contracts, ch. 48, §§ 1, 3 - 4, 2 Stat. 484-85 (1808). The early Acts of Congress are
publicly available in searchable PDF on the Library of Congress website at https://www.loc.gov/law/help/statutes-
at-large/.

 Id. at § 3. Versions of these provisions remain in force today in the criminal and public contract laws of the
29

United States Code. See 18 U.S.C. §§ 431-432; 41 U.S.C. § 6306(a).

30
  Amended & Restated Agreement of Lease Between Penn. Ave. Dev. Corp, Landlord, & Willard Assocs., Tenant
(Dec. 21 1983) (on file with author).


JE19-002                                                 26
            Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 28 of 47
JE19-002



31
  See 41 U.S.C. § 22 (1982) (historical) (providing that “no Member of or Delegate to Congress shall be admitted to
any share or part of such contract or agreement, or to any benefit to arise thereupon”), available at
https://www.loc.gov/item/uscode1982-014041001/.

32
  Domber recalled that the attorneys explained that lessee had other partnerships and was considering a limited
partnership with an opaque ownership structure.

33
     Pub. Law No. 111-350, § 2(b) (“CONFORMITY WITH ORIGINAL INTENT”), 124 Stat. 3677, 3677 (Jan. 4, 2011).

34
     Id. at 3805-06; 41 U.S.C. § 6306(a) (Jan. 4, 2011) (effective date).

35
     See U.S. Gen. Servs. Admin., Rep. of Material Provisions of the Old Post Office Dev. Agreement 4 (2013).

36
  Steven Schooner & Daniel Gordon, Trump Leases His D.C. Hotel from a Government Agency He’ll Soon Be in
Charge Of, THE WASHINGTON POST (Nov. 15, 2016), available at
https://www.washingtonpost.com/posteverything/wp/2016/11/15/trump-needs-to-give-up-his-trump-hotel-
lease-right-now/?utm term=.c8bb57f331ce.

37
  Transcript of Donald Trump’s News Conference: Full Transcript & Video, N.Y. Times (Jan 11, 2017)
https://www.nytimes.com/2017/01/11/us/politics/trump-press-conference-transcript.html.

38
  See Kevin Terry Mar. 23, 2017 Letter to Donald J. Trump, Jr. at 4, available at
https://www.gsa.gov/reference/freedom-of-information-act-foia/electronic-reading-room (Contracting Officer
Letter).

39
  See Kevin Terry Feb. 10, 2017 Letter to Trump Old Post Office LLC at pdf. 13-19., Exhibit 1.A to Kevin Terry Mar.
23, 2017 Letter to Donald J. Trump, Jr., available at https://www.gsa.gov/reference/freedom-of-information-act-
foia/electronic-reading-room (Contracting Officer Letter).

40
  See Sheri A. Dillon Feb. 17, 2017 Letter to Kevin Terry at pdf. 21-32., Exhibit 1.B to Kevin Terry Mar. 23, 2017
Letter to Donald J. Trump, Jr., available at https://www.gsa.gov/reference/freedom-of-information-act-
foia/electronic-reading-room (Contracting Officer Letter).

41
  See Sheri A. Dillon Mar. 20, 2017 Letter to Kevin Terry at pdf. 35., Exhibit 1.C to Kevin Terry Mar. 23, 2017 Letter
to Donald J. Trump, Jr., available at https://www.gsa.gov/reference/freedom-of-information-act-foia/electronic-
reading-room (Contracting Officer Letter).

42
  See Kevin Terry Mar. 23, 2017 Letter to Donald J. Trump, Jr. at 1, available at
https://www.gsa.gov/reference/freedom-of-information-act-foia/electronic-reading-room (Contracting Officer
Letter).

43
     Id.

44
     Id. at 8.

45
  Standard Form 312 (Rev. 7-2013), Classified Information Nondisclosure Agreement, at ¶ 5 (“SF 312”), available
at https://www.gsa.gov/forms-library/classified-information-nondisclosure-agreement-0; National
Counterintelligence and Security Center, 2015 Annual Report on Security Clearance Determinations at 5 (reporting
2,865,402 personnel with access to classified information), available at
https://www.dni.gov/index.php/newsroom/reports-publications/reports-publications-2016/item/1603-2015-
annual-report-on-security-clearance-determinations.

JE19-002                                                      27
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 29 of 47
JE19-002




46
   Snepp v. United States, 444 U.S. 507, 514-516 (1980). Following Snepp, the government adopted SF 189 (8-83),
the predecessor to SF 312. See Classified Information Nondisclosure Agreement (SF-189), at 31 (Answer to
Question 8), available at https://babel.hathitrust.org/cgi/pt?id=uiug.30112075638277;view=1up;seq=5; see also
id. at 36 ¶ 5 (SF 189 emoluments provision).

47
     WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY, UNABRIDGED at 742 (1993) (capital letters omitted).

48
   Bowsher v. Synar, 478 U.S. 714, 723-24 (1986) (concluding that the First Congress’s rejection of an amendment
to a bill that established the Department of Foreign Affairs was evidence that the Constitution does not
contemplate an active role for Congress in the supervision of Executive officers) (internal quotation marks and
citation omitted).

49
  An Act to establish the Treasury Department, ch. 12, §§ 1, 8, 1 Stat. 65, 67 (Sept 2, 1789). The early Acts of
Congress are publicly available in searchable PDF on the Library of Congress website at
https://www.loc.gov/law/help/statutes-at-large/.

50
  An Act for the Government of the Territory of the United States, south of the river Ohio, ch.14 § 2, 1 Stat. 123
(May 26, 1790).

51
  An Act to provide more effectually for the collection of the duties imposed by law on goods, wares and
merchandise imported into the United States, and on the tonnage of ships or vessels, ch.35, §§ 53-54, 1 Stat. 145,
171-73 (Aug. 4, 1790).

52
  An Act to incorporate the subscribers to the Bank of the United States, ch. 10, § 7(IV), 1 Stat. 191, 193-194 (Feb.
25, 1791).

53
  See, e.g., Arizona State Legislature v. Arizona Indep. Redistricting Com’n, __ U.S. __, 135 S. Ct. 2652, 2671 (2015)
(consulting Johnson and Sheridan dictionaries, as well as those by Nathan Bailey and Noah Webster, in construing
the meaning of “legislature” in the Election Clause).

54
   1 SAMUEL JOHNSON, A DICTIONARY OF THE ENGLISH LANGUAGE (10th ed. 1792); id. (6th ed. 1785); id. (4th ed. 1773); id. (1st
ed. 1755); 1 THOMAS SHERIDAN, A COMPLETE DICTIONARY OF THE ENGLISH LANGUAGE (3d ed. 1790); id. (2d rev. ed. 1789); 1
THOMAS SHERIDAN, A GENERAL DICTIONARY OF THE ENGLISH LANGUAGE (1780). See also WILLIAM PERRY, ROYAL STANDARD
ENGLISH DICTIONARY (6th American ed. 1788) (defining “emolument” as “advantage, profit”); THOMAS DYCHE & WILLIAM
PARDON, A NEW GENERAL ENGLISH DICTIONARY (18th ed. 1781) (defining “emolument” as “benefit, advantage, profit, &c.
[sic]”). See also GEORGE WILLIAM LEMON, ENGLISH ETYMOLOGY (1783) (defining “emolument” as “used to signify any
advantage, or gain”).

55
  Compare NATHAN BAILEY, AN UNIVERSAL ETYMOLOGICAL ENGLISH DICTIONARY (24th ed. 1782) (defining “emolument” as
“Advantage, Profit”) with NATHAN BAILEY, THE NEW UNIVERSAL ETYMOLOGICAL ENGLISH DICTIONARY (7th ed. 1776) (defining
“emolument” as “properly gain arising from the grist of a corn-mill; also profit gotten by labour and cost”); 1 JOHN
TRUSLER, THE DISTINCTION BETWEEN WORDS ESTEEMED SYNONYMOUS IN THE ENGLISH LANGUAGE 96 (2d ed. 1783).

56
  See, e.g., 1, 2 NOAH WEBSTER, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828). Webster defined emolument’s
adjective form, emolumental, as “Producing profit; useful; profitable; advantageous.” Id. (vol. 1).

57
  References to Blackstone’s Commentaries are to the 1771 fourth edition, published in Dublin, for Book 1, and to
the 1771-72 America edition, reprinted in Philadelphia, for Book 2. We use the America edition in view of that set
of Blackstone’s Commentaries’ purchase by several Founders, including 16 signatories to the Declaration of
Independence, President John Adams, and the father of John Marshall, later Chief Justice of the Supreme Court.

JE19-002                                                    28
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 30 of 47
JE19-002



See Wilfrid Prest & Michael Widener curators, 250 Years of Blackstone’s Commentaries: an exhibition at 11-12
(2015), available at https://digitalcommons.law.yale.edu/britlaw; see also
https://archive.org/details/commentariesonla177204blac/page/n5 (listing subscribers). We did not locate a digital
copy of the America edition’s Book 1, and accordingly rely on the fourth edition of Blackstone’s, available at
https://archive.org/details/commentariesonla711blac/page/n3 (1 Blackstone). For Book 2, America edition, see
https://archive.org/details/commentariesonla02blac/page/n5 (cover page, noting the edition is reprinted from the
British copy with the last edition) (2 Blackstone).

58
  Alden v. Maine, 527 U.S. 706, 715 (1999); see also Schick v. United States, 195 U.S. 65, 69 (1904) (“Blackstone’s
Commentaries are accepted as the most satisfactory exposition of the common law of England. At the time of the
adoption of the Federal Constitution … it has been said that more copies of the work had been sold in this country
than in England; so that undoubtedly, the framers of the Constitution were familiar with it”).

59
  2 Blackstone, ch. 3 at 36 (discussing the “fees and emoluments” belonging to offices of “public or private
employment”); 2 Blackstone, Appendix No. II at iv (describing interests in land to include “…woods, underwoods,
ways, waters, water-courses, fishings, privileges, profits, easements, commodities, advantages, emoluments …”); 1
Blackstone ch. 18 at 470 (the glebe, or land, and tithes “vested in the then parson … as a temporal recompense to
him for his spiritual care of the inhabitants, and with intent that the same emoluments should ever afterwards
continue as a recompense for the same care”); 2 Blackstone, ch. 31 at 471-72 (“the law of bankrupts … has given
them the liberty of their persons, and some pecuniary emoluments, upon condition they surrender up their whole
estate to be divided among their creditors”).

60
   2 Blackstone, ch. 3 at 36 (discussing “office”); see also 2 SAMUEL JOHNSON, A DICTIONARY OF THE ENGLISH LANGUAGE (6th
ed. 1785) (definition of “office”). Other definitions include an agency or “peculiar use,” voluntary acts of good or ill,
acts of worship, devotions, and places for conducting business. Id.

61
  1 SAMUEL JOHNSON, A DICTIONARY OF THE ENGLISH LANGUAGE (6th ed. 1785) (definition of “bailiff” as a subordinate
officer, an officer who makes arrests, or an understeward of a manor). For a description of the duties of public and
private bailiffs, see ENCYCLOPAEDIA BRITANNICA, available at https://www.britannica.com/topic/bailiff. See also S.F.C.
MILSOM, HISTORICAL FOUNDATIONS OF THE COMMON LAW at 240 (noting that any management of land or a town house
could make a person a bailiff) (Buttersworth, London ed. 1969); 1 Blackstone, ch. 9 at 345-46 (bailiffs as sheriffs’
officers who collect fines, served writs, and make arrests, among other duties).

62
     2 Blackstone, ch. 3 at 36.

63
     Blissett v. Hart, 125 E.R. 1293 (1744).

64
     Rex v. Inhabitants of the West Riding of Yorkshire, 98 E.R. 364, 366 (1770) (discussing earlier decision).

65
  For the relevance generally of the Founders’ statements, see Alden v. Maine, 527 U.S. at 716-19 (discussing
Founders’ views on sovereign immunity during the ratification debates).

66
  Correspondence of George Washington, Thomas Jefferson, and James Madison are available online from the
National Archives, in cooperation with the University of Virginia Press, at Founders Online,
https://founders.archives.gov/. The permalink for each document is styled:
http://founders.archives.gov/documents/[Washington, Jefferson, or Madison]/[document specific number].
Citations are abbreviated to [Washington, Jefferson or Madison]/[document specific number]. From James
Madison to Thomas Jefferson (Aug. 12, 1786), available at Madison/01-09-02-0026 (emphasis added).

67
     From George Washington to Gilbert Simpson (Feb. 13, 1784), available at Washington/04-01-02-0084.


JE19-002                                                     29
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 31 of 47
JE19-002



68
  19 Journals of the Continental Congress 40 (Jan. 9, 1781) (emphasis added), available at
https://memory.loc.gov/ammem/amlaw/lwjclink.html.

69
  Remarks of Archibald Maclaine, North Carolina Ratification Debates (July 29, 1788), in 4 THE DEBATES IN THE SEVERAL
STATE CONVENTIONS ON THE ADOPTION OF THE FEDERAL CONSTITUTION at 172 (emphasis added), available at
http://oll.libertyfund.org/titles/elliot-the-debates-in-the-several-state-conventions-5-vols.

70
  1 JOURNALS OF THE CONTINENTAL CONGRESS 81, 84 (Oct. 21, 1774) (emphasis added); First Continental Congress,
Address to the People of Great Britain (Oct. 21, 1774), 1 American Archives Documents of the American
Revolutionary Period, 1774-1776, 917, 918 (emphasis added), available at
http://amarch.lib.niu.edu/islandora/object/niu-amarch%3A97565.

71
  See United States v. Walker, 63 U.S. (22 How.) 299, 307-13 (1859) (discussing successive compensation
enactments); JOHN M. DOBSON, TWO CENTURIES OF TARIFFS: THE BACKGROUND AND EMERGENCE OF THE U.S. INTERNATIONAL
TRADE COMMISSION 1, 31 (1976) (stating that until 1913 “customs duties had accounted for between 50 and 90
percent of the total Federal income” and including a chart showing customs duties accounted for over 80% of
federal revenue from 1791 through 1800), available at https://www.usitc.gov/publications/332/pub0000.pdf;
Enclosure I: Estimate of Receipts and Expenditures for 1801 (Mar. 14, 1801) (showing amount of income expected
from imposts), available at https://founders.archives.gov/documents/Jefferson/01-33-02-0236. For a general
discussion of the meaning of the terms imposts, duties and similar terms in the Founding Era, see Robert G.
Natelson, What the Constitution Means by “Duties, Imposts, and Excises” – and “Taxes” (Direct or Otherwise), 66
CASE W. RES. L. REV. 297 (2015).

72
     Hoyt v. United States, 51 U.S. at 132, 135-137.

73
     Id. at 135.

74
     McLean v. United States, 226 U.S. 374 (1912).

75
     Bradley v. Fisher, 80 U.S. (13 Wall.) 335, 355 (1871).

76
     Himely v. Rose, 9 U.S. (5 Cranch) 313, 319 (1809) (Johnson, J. separate opinion).

77
     Rundle v. Del. & Raritan Canal Co., 55 U.S. (14 How.) 80, 93-94 (1852).

78
     U.S. Gypsum Co. v. Nat’l Gypsum Co., 352 U.S. 457, 465 (1957).

79
     See e.g., Commissioners of Buncombe Co. v. Tommey, 115 U.S. 122, 128 (1884).

80
     Dirks v. S.E.C., 463 U.S. 646, 653 n. 10 (1983).

81
     Pennsylvania v. Wheeling & Belmont Bridge Co., 59 U.S. (18 How.) 421, 432 (1855).

82
     Richter v. Jerome, 123 U.S. 233, 234 (1887).

83
  For relevance of historical practice, see, NLRB v. Canning, ___U.S.___, 134 S. Ct. 2550, 2559-60 (2014) (Recess
Appointments Clause). Reports of Washington’s purchase of lots in what became the District of Columbia and
foreign flour sales are found at George Washington’s Aggressive Real Estate Investment, available at
www.mountvernon.org/george-washington/real-estate; Capitol Hill Townhomes, available at
http://www.mountvernon.org/george-washington/the-first-president/george-washingtons-townhouses-in-capitol-


JE19-002                                                      30
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 32 of 47
JE19-002



hill; Ten Facts About the Gristmill § 9, available at http://www.mountvernon.org/the-estate-gardens/gristmill/ten-
facts-about-the-gristmill/.

84
   See Diary Entry (June 6, 1771) & ed. note (sales of flour to merchants that shipped to Jamaica, Lisbon, and the
West Indies), available at Washington/01-03-02-0001-0015-0002; From George Washington to Robert McMickan
(Jan. 12, 1773) & ed. notes 1 (shipping flour and herring for Barbadoes or Jamaica markets), available at
Washington/02-09-02-0122; Diary Entry (Apr. 2, 1775) & ed. note (Washington’s ship Farmer carried corn to
Lisbon), available at Washington/01-03-02-0005-0008-0002; From George Washington to Robert Cary & Co. (Sept.
20, 1759) & ed. notes 2 & 8 (tobacco shipped to London), available at Washington/02-06-02-0189-0001.

85
     OPO Lease §§ 6.2, 37.10; see also id. § 1.1 (defining “Applicable Laws” and “Laws and Regulations”).

86
     OPO Lease § 37.2.

87
  See Citizens for Responsibility and Ethics in Washington v. Donald J. Trump, No. 1:17-cv-00458 (S.D.N.Y. filed Jan.
23, 2017).

88
  The Supplemental Standards of Ethical Conduct for Employees of the General Services Administration impose
restrictions on employees who “personally and substantially” participate in real estate activities as part of their
official duties. 5 C.F.R. § 6701.104.

89
     OGE LA-16-08 (Sep. 23, 2016) at Q. 3; see also 37 U.S.C. § 908.

90
   President Reagan’s Ability to Receive Retirement Benefits from the State of California, 5 Op. O.L.C. 187, 1981 WL
30896 (June 23, 1981).

91
  Applicability of the Emoluments Clause and the Foreign Gifts and Decorations Act to the President’s Receipt of
the Nobel Peace Prize, ___ Op. O.L.C. ___, 2009 WL 6365082 (Dec. 7, 2009).

92
  Memorandum for Attorneys of the Office, Re: Best Practices for OLC Legal Advice and Written Opinions, at 1 (Jul.
16, 2010) (“OLC Best Practices”), available at https://www.justice.gov/olc/best-practices-olc-legal-advice-and-
written-opinions.

93
  Bradley Boettcher to Tim Tozer Email (Feb. 6, 2017), quoting and attaching Memorandum for Attorneys of the
Office, Best Practices for OLC Opinion at 1 (May 16, 2005).

94
  Applicability of Emoluments Clause to Proposed Service of Government Employee on Comm’n of Int’l Historians,
11 Op. O.L.C. 89, 89-90, 1987 WL 256400 (July 30, 1987).

95
  Emoluments Clause Questions Raised by NASA Scientist’s Proposed Consulting Arrangement with the University
of New South Wales, 1986 WL 1239553 at *1 (May 23, 1986).

96
  Applicability of the Emoluments Clause and the Foreign Gifts and Decorations Act to the President’s Receipt of
the Nobel Peace Prize, __ Op. O.L.C.__, 2009 WL 6365082, at *3-4, 7 (Dec. 7, 2009).

97
  Application of the Emoluments Clause of the Constitution and the Foreign Gifts and Decorations Act, 6 Op. O.L.C.
156, 1982 WL 170682 (Feb. 24, 1982).

98
  Applicability of the Emoluments Clause to Non-Government Members of ACUS, 17 Op. O.L.C. 114, 114, 119-120
(O.L.C.), 1993 WL 777080 (Oct. 28, 1993); see also Applicability of the Emoluments Clause to Nongovernmental
Members of ACUS, __ Op. O.L.C. __, 2010 WL 2516024 at *1 n.2 (June 3, 2010) (reversing earlier decision that

JE19-002                                                    31
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 33 of 47
JE19-002



nongovernment member of the advisory committee Administrative Conference of the United States (ACUS) is
covered by the Emoluments Clause, but not addressing other aspects of the 1993 opinion).

99
   Payment of compensation to individual in receipt of compensation from a foreign government (Mr. Richard E.
Newkirk, OAP) (O.L.C.), at 8 (Oct. 4, 1954), available at https://www.justice.gov/olc/page/file/935721/download.

  President Reagan’s Ability to Receive Retirement Benefits from the State of California, 5 U.S. Op. O.L.C. 187, 188,
100

1981 WL 30896 (June 23, 1981) (quoting THE FEDERALIST NO. 73).

101
   OLC Best Practices at 3, available at https://www.justice.gov/olc/best-practices-olc-legal-advice-and-written-
opinions.

102
   Applicability of 18 U.S.C. §§ 431-433 to Limited Partnership Interests in Government Leases under Proposed
Modified Transaction, 22 Op. O.L.C. 33, 1998 WL 2027627 (Feb. 17, 1998); Applicability of 18 U.S.C. § 431 to
Limited Partnership Interests in Government Leases, 22 Op. O.L.C. 41, 1998 WL 2027628 (Mar. 13, 1998).

103
      OLC Best Practices at 2, 3.

104
   See Sheri A. Dillon Feb. 17, 2017 Letter to Kevin Terry at 5-6., Exhibit 1.B to Kevin Terry Mar. 23, 2017 Letter to
Donald J. Trump, Jr., available at https://www.gsa.gov/reference/freedom-of-information-act-foia/electronic-
reading-room (Contracting Officer Letter).

105
    Pub. Law No. 111-350, § 2(b) (“CONFORMITY WITH ORIGINAL INTENT”), §3, 124 Stat. 3677, 3677, 3805-06 (Jan.
4, 2011) (emphasis added); 41 U.S.C. § 6306(a) (2011) (emphasis added).

106
      Duncan v. Walker, 533 U.S. 167, 174 (2001).

  If “publicly held” does modify “other entity,” the proviso exception would apply to entities such as publicly held
107

Real Estate Investment Trusts and publicly held partnerships, but not privately held business entities.

108
    Edward J. DeBartolo Corp. v. Florida Gulf Coast Bldg. & Constr. Trades Council, 485 U.S. 568, 575 (1988)
(citations omitted).

109
   For the general proposition that government agencies lack authority to violate the Constitution, see Larson v.
Domestic & Foreign Commerce Corp., 337 U.S. 682, 697 (1949). By example, we would not expect GSA to assert
authority to outlease space to a vendor that insisted on an unconstitutional racially restrictive covenant that
permitted discrimination to those served. See generally, Shelley v. Kraemer, 334 U.S. 1 (1948) (restrictive
covenants in housing).

110
   Constitutionality of Statute Requiring Executive Agency to Report Directly to Congress, 6 Op. O.L.C. 632, 643,
1982 WL 170732, at *10 (Nov. 5, 1982). The Seven Member Rule refers to 5 U.S.C. § 2954, which addresses
requests for information from an Executive Branch agency when those requests come from seven Members of the
House of Representatives Committee on Government Operations or five Senators on the Senate Committee on
Governmental Affairs.

111
      See Jennings v. Rodriguez, __ U.S. __, 138 S. Ct. 830, 842 (2018).




JE19-002                                                     32
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 34 of 47
JE19-002


                                          APPENDIX A

The appendix describes the documentary evidence we found that Washington purchased
privately owned lots in the District of Columbia during his presidency. The primary sources we
consulted include:

       •   Acts of Congress (see above for online access), available at
           https://www.loc.gov/law/help/statutes-at-large/index.php.

       •   Session Laws of the Maryland General Assembly, available at
           http://aomol.msa.maryland.gov/html/laws2.html.

       •   Correspondence of George Washington, Thomas Jefferson, and others available
           online from the National Archives, in cooperation with the University of Virginia
           Press, at Founders Online, https://founders.archives.gov/. The permalink for each
           document is styled: http://founders/archives.gov/documents/[Washington or
           Jefferson]/[document specific number]. Citations to Washington papers are
           abbreviated to Washington/[document specific number]. Similarly, citations to
           Jefferson papers are abbreviated Jefferson/[document specific number].

       •   Reports of The Commission to Investigate the Title of the United States to Lands in
           the District of Columbia (“Land Title Commission”), part of the Congressional Serial
           Set , available at https://catalog.hathitrust.org/Record/006228203 through the
           HathiTrust Digital Library:

               o First Commission Report, Title of the United States to lands in the District of
                 Columbia, S. Doc. No. 60-653, 60th Cong., 2d Sess. (Jan. 14, 1909), published
                 in Congressional Serial Set No. 5407, at No. 653 (“First Commission Report”);
               o Second Commission Report, Title of the United States to lands in the District
                 of Columbia, S. Doc. No. 61-632, 61st Cong., 2d Sess. (June 16, 1910),
                 published in Congressional Serial Set No. 5660, at No. 632 (“Second
                 Commission Report”); and
               o Third Commission Report, Title of the United States to lands in the District of
                 Columbia, S. Rep. No. 62-907, 62d Cong., 2d Sess. (July 13, 1912), published in
                 Congressional Serial Set No. 6122, at No. 907 (“Third Commission Report”).

                                           DISCUSSION

We found evidence in Washington’s correspondence that he purchased eight lots located in the
District of Columbia during his presidency. His will, the accompanying schedule of properties,
and the reports of the Land Title Commission confirm these purchases.1

If Washington purchased lots owned by the United States, that might be some evidence of an
early historic practice that a President’s gain from private business activities with the United

JE19-002                                        1
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 35 of 47
JE19-002


States does not violate the Presidential Emoluments Clause. 2 Our review considered any
evidence that the United States owned the lots that Washington purchased during his
presidency. We also considered any evidence that, even if the United States did not own the
lots Washington purchased, the Commissioners’ participation in the sales provided a benefit
from the United States that might be viewed as an emolument. The evidence that we found
suggests that Washington purchased privately owned property during his presidency. The
evidence similarly suggests that the Commissioners’ participation in the sales did not provide a
benefit from the United States.

1.     Historical Context for Lot Sales:

In July 1790, Congress enacted the Residence Act to implement the U.S. Constitution’s provision
for a “Seat of the Government of the United States” under the United States’ exclusive
jurisdiction.3 The Act authorized the President to prepare for the new government’s move to
the new federal district in December 1800.4 Until then, Maryland law applied to the land it
ceded.5

The Act created presidentially appointed Commissioners who were responsible for surveying
and defining the boundaries for the new federal district. Congress also gave these
Commissioners the power to purchase or accept land “for the use of the United States” and the
responsibility for providing suitable buildings for the new government, including the Congress
and the President. Congress authorized the President to appoint the Commissioners and to
accept grants of money for the government. 6

The possibility of using lot sales to fund public buildings arose when the principal landowners
within the proposed Federal City (known as the proprietors) agreed that each would donate
part of their land to “Trustees on behalf of the Public.” 7 To accomplish their purpose, the
proprietors executed deeds that conveyed land to two trustees, Thomas Beall and John Mackall
Gantt.8 The deeds authorized Beall and Gantt to:

       •   Hold all or a part of the land for a federal city, laid out in streets, squares, and lots,
           as the President approves for the new city;

       •   Convey to the Commissioners all the streets and those squares, parcels and lots as
           the President shall deem proper “for the use of the United States forever;”

       •   Make a fair and equal division of the remaining lots, returning one share to the
           proprietor and one share donated for sale on terms and conditions set by the
           President;

       •   Convey the complete, fee simple, ownership in the land to the purchasers of the lots
           sold;

       •   Use the proceeds from the lot sales to pay the proprietors at the rate of £ 25 per
           acre for the squares and lots conveyed to the United States;



JE19-002                                          2
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 36 of 47
JE19-002


       •   Transfer the remaining monies or securities from the sales to the President in order
           to achieve the purposes of the Residence Act by funding the construction of public
           buildings to house the government; and

       •   Upon the President’s request (which did not occur until November 1796), convey
           the trustees’ ownership interest in any unsold lots, not reserved to the proprietors,
           to the President or his designee.9

Before the lot lines could be drawn, surveyors had to set the boundaries of the new territory, as
well as prepare a plat of the new capital city that divided land into squares, and the squares
into lots.10

Maryland’s General Assembly regulated the land sales in order to ensure purchasers received
good title. A December 1791 enactment:

       •   Provided that Maryland’s cession of land did not vest any right in the land to the
           United States or disturb the rights of the individual land owners;

       •   Recognized that the proprietors had “conveyed their lands in trust” to Beall and
           Gantt;

       •   Extended the Beall and Gantt trusts to include interests in the land that the
           proprietors could not convey (such as the interests of minors);

       •   Authorized the Commissioners to condemn land in the city of Washington and two
           existing towns (Hamburgh and Carollsburgh) where some lot owners had not come
           to any agreement to deed to Beall and Gantt, and hold that land in trust; and

       •   Authorized the Commissioners to appoint a clerk for recording divisions and
           certificates of sales and payment. 11

Doubts about the validity under Maryland law of the lot sales in the new federal district led the
General Assembly to provide that any land recordings that satisfied its 1791 act also satisfied
Maryland’s laws for passing good title.12 The General Assembly later provided that the
certificates a purchaser received from the Commissioners, upon full payment for a lot, “shall be
sufficient and effectual to vest the legal estate in the purchasers . . . without any deed or formal
conveyance.” 13

As required by the proprietors’ deeds to Beall and Gantt, Washington set the terms for the
sales and approved the Commissioners’ authority to conduct public auctions and private sales
of lots. 14 In practice, we found some evidence that the Commissioners set the date for a public
sale and advertised the sale several months before securing Washington’s approval for the date
of the sale. 15 According to broadsides announcing public auctions, the Commissioners held the
sales of the donated lots according to the deeds of trust and on the basis of bids. 16 When the
Commissioners decided the bids fell below a lot’s value, there is some evidence that they
placed bids on behalf of the public, to protect the public interest for sale later at a higher
price. 17 Commissioners also sold at private sales, and contemporaneous documents reflect that

JE19-002                                         3
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 37 of 47
JE19-002


the Commissioners might seek competing bids where more than one party expressed interest
in a lot.18

2.     Washington’s Lot Purchases During His Presidency:

We found evidence that Washington purchased privately owned lots during his presidency.

       a. The Lots Purchased:

Washington first purchased at a September 1793 public sale four lots (those allocated for sale
to fund public buildings) in square 667, located in Carrollsburgh. 19 The Commissioners sent
Washington certificates that set the terms of payment for the lots and provided that, upon full
payment, he “will be entitled to a conveyance of the said lot in Fee.” The Commissioners later
sent Washington a Certificate for Purchase of Lots and payment of the price, “which by a late
Act transfers the Title without the formality of Deeds.” The price for the lots was $ 1066.66,
with interest. Washington later commented that he “paid pretty smartly” for these lots. 20

Washington was unsuccessful in purchasing Hamburgh lots during the September 1793 sale,
but the Commissioners later advised that a prospective buyer of a large number of lots
expressed his willingness to defer to Washington’s interest.21 The following year, Washington
purchased two public lots in square 21 for £ 200 each. 22 We found some evidence that this was
twice the price that the Commissioners obtained in earlier sales for other lots near the planned
site for the President’s House (the White House). 23 Washington later purchased two adjacent
lots from a private owner, Robert Peter, and received a deed from Peter in 1795.24

       b. Ownership of the Lots Purchased in Commissioner Sales:

We found that Maryland’s cession of land for the new district ceded sovereignty to the United
States over the Maryland portion of the new federal district, but not title to the land. The
Maryland General Assembly’s 1791 Act expressly provided that nothing in its cession for the
new District of Columbia “… shall be so construed to vest in the United States any right of
property in the soil, as to affect the rights of individuals therein ….” 25

We also found evidence that the allocation of lots for the public to fund construction projects
also did not give the United States ownership and divest the proprietors’ trustees from their
ownership and obligations for the donated land. The Land Title Commission reviewed the
available records of these divisions and concluded that “the lands devoted to sale for the
purpose of securing funds for erecting buildings were not set forth in the agreements of
division as becoming the property of the United States.” 26 Instead, the Commission found that
“… in each assignment the apportionment is to the ‘public’ and not to the United States.” 27

The six public lots that Washington purchased during his presidency appear to be among the
lots that the proprietors donated for sale, in order to raise funds for the President’s House
(White House), the Capitol, and other government buildings (and return a share of the proceeds
to the proprietors). We found evidence that Washington understood that the public lots he
purchased were held privately by the trustees, not by the government.28 Broadsides for the
Commissioners’ 1793 sale announced that the sales would be made “according to the deeds in

JE19-002                                       4
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 38 of 47
JE19-002


trust of the lands within the city.” 29 Under those deeds, Beall and Gantt, not the United States,
“conveyed to the respective purchasers fee simple.” 30 Washington’s correspondence reflects
that he understood the significance of purchasing the complete, fee simple ownership of land. 31

The Land Title Commission concluded that “the course of title of the lands involved seems to be
perfectly clear” during the period of his presidency when Washington purchased lots: the “sale
of lands by the commissioners automatically divested from the original trustees ….” 32 The Land
Title Commission found that “the course of the title” became less clear when, at Washington’s
request as provided by the proprietors’ trust agreement, Beall and Gantt conveyed their
interests to the Commissioners on November 30, 1796.33 This occurred after Congress directed
that lots be sold in order to repay loans needed for preparing the new government seat.34 At
that point, the Commissioners replaced Beall and Gantt as trustees, and acquired the prior
trustees’ fee simple ownership in the lands donated in trust for the public. 35

Prior to November 30, 1796, however, the evidence we found indicates that the title to the
public lots that the Commissioners sold passed directly from the trustees, Beall and Gantt, to
the purchasers (such as Washington). Based on this evidence, it appears that Washington
purchased lots during his presidency from the trustees and from a private landowner (Peters).

3.     The Commissioners’ Authority for Selling Lots:

We also considered whether the Commissioners’ participation in the sales, alone, gave
Washington a benefit from the United States. Accordingly, we considered the source for the
Commissioners’ authority to conduct sales.

As noted above, the Residence Act expressly gave the Commissioners the power to purchase or
accept land; but the Act did not include authority to sell land, much less sell land that the
United States did not own. Maryland law did not give the commissioners authority to sell land
that the trustees held in trust. The General Assembly only gave the Commissioners authority to
condemn and sell land of owners who would not execute deeds with trustees Beall and Gantt,
after the owners received valuation. 36

The proprietors’ deeds to the trustees authorized that the “… lots shall and may be sold at any
time or times in such manner and on such terms and conditions as the president of the United
States for the time being shall direct ….” 37 Washington, in turn, exercised the authority given to
him by the deeds of trust when he authorized the Commissioners to conduct public and private
sales, as the Broadsides advertised. 38 It appears then that the Commissioners’ authority derived
from the private deeds of trust. The Residence Act did not include land sales among the
authorities Congress granted the Commissioners in their capacity as United States officers. In
these circumstances, the evidence we considered suggests that the Commissioners’
participation in the lot sales gave Washington a benefit from the proprietors’ private trust
agreements with Beall and Gantt, rather than from the United States.

As noted above, the Commissioners’ role changed when Washington requested Beall and Gantt
to transfer their interests under the trusts in 1796, as those documents provided. However,
Washington did not make further lot purchases until after his presidency, when he purchased

JE19-002                                        5
       Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 39 of 47
JE19-002


two lots in September 1798 to build townhouses, a public lot in square 634 (which the
commissioners now held in trust) and an adjacent private lot in the same square that he
purchased from Daniel Carroll. 39 The Presidential Emoluments Clause does not encompass a
former President’s receipt of emoluments from the government.40

We are mindful that disputes over the lot sales bred litigation for over 170 years. Something as
fundamental as which plat was used for conveying the streets for the new city was not resolved
for 102 years, and the United States’ ownership of the alleys not until the 1970s. 41 The
government’s interest in the donated public lots was resolved 111 years after Washington’s
presidency, with the District of Columbia Court of Appeals deciding that title to the lots donated
for the public “never vested in the United States.” Rather “the fee passed through the trustees
from the grantors to the purchasers,” while the United States “simply received the proceeds of
the sales.” 42 In view of the disagreements over the early sales long after Washington died, we
relied on the plain language that appears in the contemporaneous documents prepared by and
for the participants in those transactions as the best gauge for understanding
contemporaneous meaning and historic precedent.

We recognize that there may well be contemporaneous evidence not yet found or that our
review did not discover. 43 Consequently our report does not reach a definitive judgment on
whether Washington’s lot purchases show a historic practice of the first President conducting
private business with the United States. Nonetheless, the evidence that we found suggests that
Washington purchased privately owned property during his presidency. The evidence similarly
suggests that the Commissioners exercised authority under the proprietors’ trust agreements
when they participated in the sale of six lots held by Beall and Gantt, the trustees, to
Washington during his presidency.




JE19-002                                        6
            Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 40 of 47
JE19-002


Endnotes:
1
  As discussed later, Washington purchased lots in squares 21 and 667 during his presidency. We found that
Washington included these lots in his final will and accompanying schedule of properties, as well as lots in square
634 purchased after his presidency. The Last Will and Testament of George Washington at 23, 39 n.44, 47-48 (John
C. Fitzpatrick ed., Mt. Vernon Ladies’ Ass’n 1939), available at
https://archive.org/details/lastwilltestamen1939wash. See also First Commission Report at 13 (square 21), 47
(square 667).

2
 Whether any business Washington had with the United States or any foreign government violated the Foreign or
Presidential Emoluments Clauses also requires an examination of broader issues of constitutional interpretation,
such as a structural analysis of the clause and an inquiry into its purpose.

3
 U.S. CONST. art. I, § 8, cl. 17. See An Act for establishing the temporary and permanent seat of the Government of
the United States, ch. 28, §§ 1, 5-6, 1 Stat. 130 (Jul. 16, 1790) (Residence Act). An amended act provided that the
President could include in the new federal district land on the Virginia side of the Potomac, but that public
buildings had to be erected on the Maryland side. An Act to amend “An act for establishing the temporary and
permanent seat of the Government of the United States,” ch. 17, 1 Stat. 214 (Mar. 3, 1791).

4
    Residence Act, at §§ 2-3, 6.

5
    Id. at § 1.

6
    Id. at §§ 2-4.

7
 See Agreement of the Proprietors of the Federal District (Mar. 30, 1791) & ed. note, Washington/05-08-02-0016.
The agreement generally provided for their donation of land for the new city and that the lots created from the
proprietors’ land shall be “joint property between the Trustees on behalf of the Public and each present
Proprietor” and equally divided between them. The Agreement further provided for compensating the proprietors
at a rate of 25£ per acre for the lands donated for public buildings and improvements. See also Second Commission
Report at 5 (discussing the “evidence of the assignment of the lots to the public”).

8
 See Morris v. United States, 174 U.S. 196, 202-06 (1899) (reproducing text of Deed of David Burns). For similar
deeds to Carrollsburgh and Hamburgh lots, see id. at 248-50 (quoting deeds) and United States v. Groen, 72 F.
Supp. 713, 717 (D.D.C. 1947) (Carrollsburg proprietors’ deeds in trust to Beall and Gantt to carry out the
proprietors’ agreements to “relinquish our rights to the said lots and lands, as the President or such
Commissioners or persons acting as aforesaid shall direct, to secure to the United States the donation intended by
this agreement”). For a digital copy of an original deed, see Indenture of Thomas Johns, et al. to Thomas Beall and
John Mackall Gantt (Apr. 9, 1793), available at
http://nationalbuildingmuseum.net/pdf/PubProg QuirksofL%27Enfant WhayneQuin 5-24-2012.pdf.

9
 Morris v. United States, 174 U.S. at 202-05; see also id. at 266 (trustees conveyed fee simple interest in lots to the
Commissioners at Washington’s request on Nov. 30, 1796); see also Second Commission Report at 7 (same).

10
  For problems with the accuracy of survey lines, see To George Washington from the Commissioners for the
District of Columbia (Mar. 11-12, 1793) & ed. notes 5, 8 (inaccurate measures and survey work certified that was
not done), Washington/05-12-02-0230; Proclamation (Oct. 17, 1791) & ed. note (noting bidding on lots in
connection with this sale was hampered by the lack of a printed plan, or plat of the city that showed the land
divided into squares and lots), Washington/05-09-02-0052; From George Washington to David Stuart (Nov. 20,
1791) (discussing Washington’s reaction to hearing that L’Enfant refused to provide a map of the new “Federal
City” for satisfying purchasers at the sale), Washington/05-09-02-0118); To George Washington from the



JE19-002                                                   7
        Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 41 of 47
JE19-002



Commissioners for the District of Columbia (Apr. 9, 1793) (discussing the need for replatting and redividing some
squares), Washington/05-12-02-0344.

11
   An Act concerning the territory of Columbia and the city of Washington, Laws of Maryland, Sess. 200, vol. 204,
ch. 45, 572 (Dec. 19, 1791).

12
  A Supplement to the act, entitled, An act concerning the territory of Columbia, and the city of Washington, Sess.
202, vol. 644, ch. 59, 689 (Dec. 23, 1792) (Early State Records Film No. 3181 (third column)).

13
   A Further supplement to the act concerning the territory of Columbia and the city of Washington, Sess. 203, vol.
645, ch. 58, 63 (Dec. 28, 1793). This enactment alleviated the trustees from their obligation to provide a deed in
order to transfer title. Conflicting claims over which proprietor owned the land, incomplete surveys, and the
commissioners’ private sale of lots before the divisions of squares may have complicated the trustees’ ability to
prepare a deed. See, e.g., Second Commission Report at 6 (noting difficulties in making divisions, in part, because
there were conflicting claims of individual proprietors as to the ownership of particular squares); To George
Washington from the Commissioners for the District of Columbia (Mar. 11-12, 1793) (finding inaccuracies in
surveys and that surveyor did not accomplish some of the work he certified as done), Washington/05-12-02-0230;
To George Washington from the Commissioners for the District of Columbia (Apr. 9, 1793) (need to correct the
lines in some squares and replatting and redividing some squares), Washington/05-12-02-0344.

14
  Morris v. United States, 174 U.S. at 203-04 (quoting deeds). See also Proclamation (Oct. 17, 1791) & ed. note
(authorizing sales and outlining terms and conditions), Washington/05-09-02-0052; From George Washington to
the Commissioners for the District of Columbia (Sept. 29, 1792) & ed. note (authorizing public and private sales),
Washington/05-11-02-0088; To George Washington from the Commissioners for the District of Columbia (Sept. 16,
1793) & ed. note 2 (Commissioners’ authority for arranging public and private sales), Washington/05-14-02-0068.

15
  See From Commissioners for the District of Columbia to George Washington (Sept. 16, 1793) & ed. notes 2-3
(September 1793 sale advertised in January in a Philadelphia newspaper, the Gazette of the United States),
Washington/05-14-02-0068.
16
  Broadside: Sale of Lots in the Federal City, (Oct. 8, 1792) (bids under three dollars not accepted),
Washington/05-11-02-0108; see also Proclamation (Oct. 17, 1791) & ed. note (noting that bidding hampered
because prospective buyers could not see how squares fit in the overall city plan), Washington/05-09-02-0052.

17
  To George Washington from the Commissioners for the District of Columbia (Oct. 21, 1791) (four of the 35 lots
sold in the first public sale “fall again to the public [and] those bids were to protect its Interest”), Washington/05-
09-02-0056.

18
  To George Washington from the Commissioners for the District of Columbia & ed. note 3 (Apr. 20, 1795)
(referencing commissioners’ letter notifying interested party that they will accept another offer unless “better
terms are offered by others”), Washington/05-18-02-0044.

19
   For the characterization of these lots as “public” lots, see Second Commission Report at 5, 30 (noting the division
of lands “between the original proprietors and the public” and the “assignment of the lots to the public,” included
in the tables as “Assigned to the United States”). Maps that show the numbered squares in Carrollsburgh and in
Hamburgh where Washington purchased lots are included with a Washington letter, found at From George
Washington to the Commissioners for the District of Columbia (Mar. 14, 1794), Washington/05-15-02-0289 (the
maps were not part of Washington’s letter). Hamburgh was located in the Foggy Bottom area of Washington, D.C.,
and Carrollsburgh located near the confluence of the Potomac and Anacostia (the Eastern Branch) rivers bordering
the city. The Supreme Court’s opinion in Morris v. United States, 174 U.S. at 219-21, also includes maps showing
the Carrollsburgh and Hamburgh locations.


JE19-002                                                   8
        Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 42 of 47
JE19-002



20
  Washington’s correspondence shows monetary amounts in dollars ($) and pounds (£). The report uses the
currency indicated in the correspondence citied. For Washington’s purchase of lots in square 667, see Certificate
for Lots Purchased in the District of Columbia (Sept. 18, 1793) & ed. note, Washington/05-14-02-0074; From
George Washington to the Commissioners for the District of Columbia (Mar. 14, 1794) & ed. note 2,
Washington/05-14-02-0068; To George Washington from the Commissioners for the District of Columbia (Mar. 23,
1794) & ed. note 1, Washington/05-15-02-0331; From George Washington to the District of Columbia
Commissioners (Sept. 28, 1798) & ed. note 3, Washington/06-03-02-0023. The certificate only covers lots 12-14,
and Washington received a separate certificate for lot 5. The Land Title Commission found that Washington paid
$306.66 for Lot 5 and $776 for lots 12-14, a total of $1082.66. See First Commission Report at 47.

21
  From George Washington to the Commissioners for the District of Columbia (Mar. 14, 1794), Washington/05-15-
02-0289; To George Washington from the Commissioners for the District of Columbia (Mar. 23, 1794) & ed. note 2,
Washington/05-15-02-0331; From George Washington to the Commissioners for the District of Columbia (Apr. 11,
1794), Washington/05-15-02-0442.

22
  To George Washington from the Commissioners for the District of Columbia (Apr. 23, 1794) & ed. note 2,
Washington/05-15-02-0499; From George Washington to the Commissioners for the District of Columbia (June 1,
1794) & ed. note 2, Washington/05-16-02-0139; Second Commission Report at 5, 19; see also note 19, supra.

23
  To George Washington from David Stuart (Dec. 10, 1792) & ed. note 3 (discussing 15 lots sold near the
President’s House for £ 100 each), Washington/05-11-02-0295; To George Washington from the Commissioners
for the District of Columbia (Oct. 13, 1792) & ed. note 1 (24 lots sold near the President’s House for an average of
£ 85 per lot), Washington/05-11-02-0115.

24
  For the purchases from Robert Peter, see To George Washington from the Commissioners for the District of
Columbia (June 7, 1794) & ed. note 1 (discussing Peter’s willingness to sell and his execution of a deed to
Washington for the lots on May 11, 1795), Washington/05-16-02-0161; From George Washington to the
Commissioners for the District of Columbia (Mar. 24, 1795) & ed. notes 1-2 (Tobias Lear, Washington’s assistant,
paid the balance for three lots, including both the lots that Robert Peter sold), Washington/05-17-02-0455. See
also First Commission Report at 5 (showing lots 1 and 4 assigned to the United States and lots 2 and 3 remaining
with the proprietor); id. at 13 (showing a total payment of $ 2,133.32 for the four lots); Second Commission Report
at 19 (showing lots 1 and 4 assigned to the United States and lots 2 and 3 assigned to the proprietor).

25
  An Act concerning the territory of Columbia and the city of Washington, Laws of Maryland, Sess. 200, vol. 204,
ch. 45, § 2 at 573 (Dec. 19, 1791).

26
  Second Commission Report at 8. The Land Title Commission also found that the contemporaneous record of
these assignments of lots is incomplete. Id. at 5-7; Third Commission Report at 17-22. According to the Land Title
Commission, a division should include “an instrument signed by the original proprietors and by the commissioners
and containing a plat of the square as it was divided into lots, with or without alleys, as the case might be, and a
certificate of the date of division and the assignment by lots or by the whole square to the public or to the original
proprietor" and then recorded. Third Commission Report at 17.

27
  Second Commission Report at 8. Although the assignments were to the public, the United States was the
beneficiary of the proceeds from sales of donated land; and the Report refers to the public share as assignments to
the United States and the United States conveyed lots. Id. at 3-4, 19. The Land Title Commission also noted that
the distinction is “scarcely with a difference,” citing two specific instances where land assigned to the public was
conveyed to the United States for the Washington Navy Yard and Marine barracks. Id at 8. We found evidence that
the United States purchased the land for both the Washington Navy Yard and the Marine barracks. See To Thomas
Jefferson from Samuel Smith (May 4, 1801) (reporting “pieces of ground purchased for the purpose of Navy Yards
– to wit – New Hampshire, Boston, New York, Philadelphia, Washington, & Norfolk…”), Jefferson/01-34-02-0021;
Memorandum from Thomas Munroe (June 15, 1802) ed. note (including query on “balance of about $2250 due for
square purchased by U.S. for Marine barracks”), Jefferson/01-37-02-0492.
JE19-002                                                  9
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 43 of 47
JE19-002




28
  From George Washington to Thomas Beall (Nov. 10, 1796) (Early Access document), Washington/99-01-02-
01071; see also Morris v. United States, 174 U.S. at 266 (discussing Washington’s request that the trustees convey
to the commissioners in fee simple all land subject to the trusts remaining unexecuted).

29
  Broadside: Sale of Lots in the Federal City, § 8 (Oct. 8, 1792), Washington/05-11-02-0108; see also Proclamation
(Oct. 17, 1791) & ed. note 1 § 8 (regulations providing that the conveyances shall be made pursuant to the deeds
of trust), Washington/05-09-02-0052.

30
     Morris v. United States, 174 U.S. at 203-04.

31
   For examples of Washington’s familiarity with fee simple ownership, see From George Washington to John Gill
(May 4, 1795) (offering to modify land sale by placing condition on the use of land until the payment of the full
purchase price, “when you will be possessed of the fee Simple, & a legal right to do what you please with the
land”), Washington/05-18-02-0081; From George Washington to James Ross (Aug. 29, 1795) & ed. note 3 (power
of attorney prepared by Washington to dispose of fee simple interest in land), Washington/05-18-02-0399; From
George Washington to Alexander Addison (July 8, 1796) (Early Access document) (describing his execution of a
deed to convey an estate “in fee Simple”), Washington/99-01-02-00704; From George Washington to James
Mercer (Dec. 12, 1774) & ed. note 3 (account of Washington’s acquisition of a tract of land to secure his ownership
in fee simple), Washington/02-10-02-0143.

32
  Second Commission Report at 7-8. Under Maryland law, conveyance occurred the moment the commissioners
received full payment: “the certificates granted … to purchasers of lots in the said city, with acknowledgment of
the payment of the whole purchase money, and interest, if any … shall be sufficient and effectual to vest the legal
estate in the purchasers … without any deed or formal conveyance.” See A Further supplement to the act
concerning the territory of Columbia and the city of Washington, Sess. 203, vol. 645, ch. 58 at 63, § 1 (Dec. 28,
1793).

 Second Commission Report at 7-8; see also Morris v. United States, 174 U.S. at 205; From George Washington to
33

Gustavus Scott (Nov. 11, 1796), Washington/99-01-02-01073.

34
  An Act authorizing a Loan for the use of the City of Washington, in the District of Columbia, and for other
purposes therein mentioned, ch. 21 §§ 1-2, 1 Stat. 461 (May 6, 1796).

35
  Second Commission Report at 8. With Beall and Gantt’s transfer of their trust interests and obligation, the
Commissioners “had two sets of functions – first, as trustees to hold the donated lands, and second, as public
officials to care for lands purchased by the United States and to dispose of the lands donated to the building fund
when the identity of such lands should have been ascertained.” Id.

36
  See An Act concerning the territory of Columbia and the city of Washington, Sess. Laws of Maryland, Sess. 200,
vol. 204, ch. 45 §§ 4, 13, 574, 576 (Dec. 19, 1791). Section 13 of that Act repealed an earlier Maryland law
that authorized the commissioners to condemn land “for the erection of public buildings, and for other public
purposes.” An Act to condemn land, if necessary, for the public buildings of the United States, Sess. 199, vol. 204,
ch. 44, 514 (Dec. 22, 1790). Washington was aware that merchants in the area of the new district had sought
condemnation legislation from the General Assembly. To George Washington from William Deakins, Jr., and
Benjamin Stoddert (Dec. 9, 1790) & ed. notes, Washington/05-07-02-0025; From George Washington to William
Deakins, Jr., and Benjamin Stoddert (Feb. 17, 1791) & ed. note 2, Washington/05-07-02-0214.

37
     Morris v. United States, 174 U.S. at 203 (quoting deed).

38
  Id.; Proclamation (Oct. 17, 1791) ed. note 1 § 8 (providing “These regulations are the terms and conditions under
and upon which conveyances are to be made according to the deeds in Trust of the Lands within the City”),
Washington/05-09-02-0052; Broadside: Sale of Lots in the Federal City (Oct. 8, 1792) (providing “ALL Lands
JE19-002                                                    10
           Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 44 of 47
JE19-002



purchased at this Sale, are to be subject to the Terms and Conditions declared by the President, pursuant to the
Deeds in Trust”), Washington/05-11-02-0108.

39
  For these lots, see From Alexander White to George Washington (Sept. 8, 1798) & ed. note 1 (expressing opinion
on the lots that might suit Washington’s plan to build two houses, and noting Washington’s subsequent purchase
of public lot 16 and Daniel Carroll’s lot 6), Washington/06-02-02-0463; To George Washington from the District of
Columbia Commissioners (Sept, 27, 1798) & ed. note 1 (discussing purchases), Washington/06-03-02-0020. For
Washington building two connected houses on lots he purchased after his presidency, see From George
Washington to the District of Columbia Commissioners (Sept, 28, 1798) & ed. note 2, Washington/06-03-02-0023.
See also First Commission Report at 45 (Washington’s purchase of lot 16, square 634).

40
  We found one post-presidency transaction that relates back to his purchases while President. In 1798,
Washington complained that his square 667 purchases included water rights, but that these rights were not
reflected in his certificates. From George Washington to the District of Columbia Commissioners (Sept. 28, 1798) &
ed. note 3, Washington/ 06-03-02-023; see also Certificate for Lots Purchased in the District of Columbia (Sept. 18,
1793) & ed. note 1 (lots 12-14 come with “a privilege of improving, in front of the Lot, into the Eastern branch”),
Washington/05-14-02-0074.

The commissioners investigated and found Washington “clearly entitled to the water Lots” and compensated
Washington by assigning him “4, 5, 6, and water front” east of square 667 covered by the cost of his 1793
purchase. To George Washington from the District of Columbia Commissioners (Oct. 3, 1798), Washington/06-03-
02-0038; First Commission Report at 47 (entry for square 667 “4, 5, and 6, water front” for Gen. Geo Washington,
with the notation: “The amount received for this lot is included in that received for lots 12, etc., square No. 667.”);
see also id. (entry for square 667 “lots 12, 13,and 14” with the notation “In this amount is covered the sum paid for
lots 4, 5, and 6, square east of square No. 667.”). Our investigation did not find a certificate for these lots, and the
lots do not appear in Washington’s will and accompanying schedule of properties (unlike the other lots he
purchased), cited earlier.

 See Morris v. United States, 174 U.S. at 252-71 (discussing the Ellicott and the Dermont plats); Washington Med.
41

Ctr. v. United States, 545 F.2d 116, 121-126 (Ct. Cl. 1976) (alleys vested in the United States), cert. denied, 434 U.S.
902 (1977). For other cases that addressed the early sales, see Oneale v. Thornton, 10 U.S. (6 Cranch) 53 (1810);
Van Ness v. Mayor, Aldermen, and Bd. of Common Council of the City of Washington, 29 U.S. (4 Pet.) 232 (1830);
Potomac Steam-Boat Co. v. Upper Potomac Steam-Boat Co,109 U.S. 672 (1884); Shoemaker v. United States, 147
U.S. 282 (1893); Bursey v. Lyon, 30 App. D.C. 597 (Ct. App. D.C. 1908); Fowler v. Koehler, 43 App. D.C. 349 (Ct. App.
D.C. 1915); Fitzhugh v. United States, 40 F. 2d 797 (Ct. App. D.C. 1930); United States v.Belt, 142 F. 2d 761 (D.C. Cir.
1944); United States v. Groen, 72 F. Supp. 713; Campbell v. Morris, 1797 WL 430 (Gen. Ct. Md. May 1, 1797), rev’d
Ct. App. (June 1,1800).

42
     Bursey v. Lyon, 30 App. D.C. at 608.

 See, e.g., Certificate for Lots Purchased in the District of Columbia (Sept. 18, 1793) ed. note (certificate of
43

Washington’s purchase of lot 5 in square 667 included in a private sale), Washington/05-04-02-0074.




JE19-002                                                  11
Case 1:17-cv-01154-EGS Document
                           endix63-1
                                 BB Filed 01/30/19 Page 45 of 47
                        Appendix
Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 46 of 47
Case 1:17-cv-01154-EGS Document 63-1 Filed 01/30/19 Page 47 of 47




                     OFFICE OF
                     INSPECTOR GENERAL
                     U.S. General Services Administration




                                       get CONNECTED
  For media inquiries
OIG_PublicAffairs@gsaig.gov                     subscribe to the
       (202) 501-0450                           MAILING LIST




    REPORT FRAUD, WASTE, AND ABUSE

                               Anonymous              fraudnet@gsaig.gov
    (800) 424-5210
                               Hotline Form




 www.gsaig.gov ● 1800 F Street NW, Washington, DC 20405
